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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

       JOHNSON & JOHNSON HEALTH CARE           .
       SYSTEMS INC.,                           .
                                               .
               Plaintiff,                      . Case No. 22-cv-02632
                                               .
       vs.                                     . Newark, New Jersey
                                               . June 27, 2023
       SAVE ON SP, LLC,                        .
                                               .
               Defendant.                      .


                             TRANSCRIPT OF HEARING
                     BEFORE THE HONORABLE CATHY L. WALDOR
                        UNITED STATES MAGISTRATE JUDGE


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    1                           (Commencement of proceedings)

    2

    3                 THE COURT:         All right.    We're on the record in

    4   22-2632 on various discovery disputes.

    5                 Let's have entries of appearance for Johnson &

    6   Johnson Health Care Systems first.

    7                 MR. GREENBAUM:          Good morning, Your Honor.         Jeffrey

    8   J. Greenbaum, and I'm with Katherine Lieb, Sills Cummis &

    9   Gross, for plaintiff.

   10                 And I'll let the gentlemen from Patterson Belknap

   11   introduce themselves.

   12                 MR. LOBIONDO:          Good morning, Your Honor.         George

   13   Lobiondo from Patterson Belknap.               With me is Harry Sandick

   14   and Adeel Mangi.

   15                 MALE SPEAKER:          Good morning.

   16                 THE COURT:         You have to talk slowly, because I'm

   17   old and my hearing is slow.

   18                 MALE SPEAKER:          Thank Your Honor.

   19                 THE COURT:         Go ahead.

   20                 MR. WOHLFORTH:          Good morning, Your Honor.         Evans

   21   Wohlforth from the Robinson & Cole firm for SaveOn SP LLC.

   22                 With me from the Selendy Gay firm is Andrew Dunlap,

   23   Elizabeth Snow.          They'll be presenting the argument today for

   24   our side.

   25                 And also Meredith Nelson.
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    1                 THE COURT:         Okay.

    2                 So where, I believe, we left -- by the way, I

    3   received your various submissions and your objections to the

    4   other side's various submissions and your failure to agree on

    5   meeting and conferring and every other submission that you

    6   have.     And I've reviewed them the best I can, knowing that

    7   Friday they came in at, like, 8:00 and 11:00, and I'm sorry

    8   that people were working late.

    9                 But I did not work this weekend -- thank you very

   10   much.

   11                 I am on criminal duty; so I had limited time

   12   yesterday.        And I reviewed things today.            And, of course, Tim

   13   Duva reviewed everything and helped me out with a bench memo.

   14                 So I think we can proceed.

   15                 Where are we going to start, Mr. Greenbaum?

   16                 MR. GREENBAUM:          Yes, Your Honor.          I did submit a

   17   letter -- I don't know if you saw it yesterday.

   18                 THE COURT:         I have your agenda.       Again, thank you.

   19                 MR. GREENBAUM:          You're welcome.

   20                 Can we start, then, with 61?

   21                 THE COURT:         Yes, let's start with 61.

   22                 MR. GREENBAUM:          Okay.    We are going to have a

   23   little different batting order today.                 I'm going to start

   24   with 61.

   25                 THE COURT:         Okay.
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    1                 MR. GREENBAUM:          Mr. Lobiondo will start with 62 and

    2   also the motion to strike.               And then Mr. Sandick will deal

    3   with the custodian issues.

    4                 THE COURT:         Okay.   I want to make a general

    5   statement first.

    6                 These broad-brush requests for protective orders

    7   and compel, I need to deal with things one at a time as they

    8   come up.       So as long as I'm going to work on this case, I

    9   don't want to make broad protective orders against all

   10   financial records or against all of anything.                      I need to take

   11   things one kernel at a time.

   12                 So please keep that in mind.             And, obviously, you

   13   have open access to my court on a regular basis and know

   14   that.

   15                 All right.         Go ahead.     61.

   16                 MR. GREENBAUM:          Yes, Your Honor.          Thank you.

   17                 In considering discovery disputes, the Court, of

   18   course, needs to look at relevance and burden and to make

   19   sure the burden is proportional to the claims and defenses.

   20                 Your Honor at one the last conferences asked what

   21   was the updated standard on -- for discovery?                      If -- you're

   22   correct that it was updated in 2015.                 And I can just read

   23   what is, and I think it shows and it will demonstrate why the

   24   business plans are so vital to this case.

   25                 And the standard is the parties may obtain
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    1   discovery regarding any nonprivileged matter that is relevant

    2   to any party's claim or defense and proportional to the needs

    3   of the case, considering the importance of the issues at

    4   stake in the action -- and we have said these are very

    5   important; the amount in controversy -- we're talking here

    6   hundred million or more; the parties' relevant access to the

    7   relevant information; the parties' resources; and the

    8   importance of the discovery in resolving the issues and

    9   whether the burden or expense of the proposed discovery is --

   10   outweighs the likely benefit.              Information within the scope

   11   of discovery need not be admissible in evidence.

   12                 Here, Your Honor, there's absolutely no burden, and

   13   they haven't claimed there is any burden.                  We're talking just

   14   a few documents.              There's maybe quarterly business plan for

   15   the years in question here.              And we're not talking about a

   16   broad request.          This is a laser-tailored request, just to a

   17   few documents considering the business plans.

   18                 And, Your Honor, that go to at the heart of the

   19   case.     Relevance is a broad standard.              And I can't think of

   20   anything more relevant to our claims challenging SaveOn's

   21   efforts to take patient support moneys intended for patients

   22   than their plans to do exactly that, which is set forth in

   23   the business plans.

   24                 Here, the division -- diversion of patient

   25   assistance funds is the foundation of SaveOn's business
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    1   model.      And they've said that.             And the business plan

    2   documents are not only directly relevant, but directly

    3   implicate the harm SaveOn has caused to JJHCS as well as to

    4   its patients and to the public at large; things that are

    5   critical for us to prove for our GBL and our tortious

    6   interference claims.

    7                 In both of the -- they've actually in this case,

    8   Your Honor, even though now they argue relevance, they've

    9   essentially conceded the relevance in two respects:                       Number

   10   one, they've also produced a business plan.                      We have attached

   11   as Exhibit B to our papers, the January 15th, 2019, business

   12   plan.     And I'm going to go through it in a few minutes to

   13   show why it's so relevant to our case.

   14                 But in arguing in opposition, they've also

   15   implicitly conceded the relevance by arguing, ah, the

   16   business plans are merely cumulative.                  They're cumulative

   17   because they have other stuff on our business operations.                          In

   18   the joint letter they submitted, they talk about listing

   19   guides to employees who make calls, 140,000 call records, and

   20   they say the client savings from Janssen drugs, SaveOn SP

   21   operations, call centers, the process of communications with

   22   clients and organizational charts -- that would be cumulative

   23   of other discovery that you already have.                   So they're

   24   conceding these are all relevant topics.                   And they're saying,

   25   oh, the one document that shows their intent, that goes to
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    1   the heart of this, we shouldn't get because we have 140,000

    2   records that we have to piece together to try to find their

    3   intent, well, this is the heart of it, Judge.                     The business

    4   plans show what their intent is -- and.

    5                 THE COURT:         But you have one business plan?

    6                 MR. GREENBAUM:          Yes.

    7                 THE COURT:         And what's in that business plan?               You

    8   said you were going to get to that.

    9                 What's in it that's so important to you?

   10                 MR. GREENBAUM:          I'll explain that, Your Honor.

   11                 THE COURT:         Okay.

   12                 MR. GREENBAUM:          But before I do that, I just would

   13   like to go to why this is so critical to our claims here.

   14                 THE COURT:         Okay.

   15                 MR. GREENBAUM:          Because it shows intent.          And

   16   intent is so relevant to what we are trying to prove here.

   17                 SaveOn admits that it exists only to take advantage

   18   of patient assistance programs, like CarePath.                     It says that

   19   in their video.          We've cited that on many times in the

   20   complaint.        And we have two claims here:            tortious

   21   interference and deceptive trade practices.                     And intent is

   22   relevant to both of those.               For tortious interference, we

   23   have to show the interference is intentional, that it's

   24   willful and unjustified and that it causes us damage.                         And on

   25   the GBL claim, we have to show it's directed to consumers and
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    1   that it's materially and deceptive, that we're harmed, and

    2   that there's a harm to the public at large.

    3                 And if we can show it's willful, we can get treble

    4   damages up to $1,000 for each violation.

    5                 How they intend to take advantage of patient

    6   assistance programs, how they intend to avoid detection.                         The

    7   law is that they direct to consumers.                  This all goes to the

    8   heart of our case and shows how they plan to accomplish this

    9   in their business plans.

   10                 So let's go through the business plan, and it's

   11   attached to their complaint.               But if Your Honor -- I have a

   12   clean copy I can hand up separately, if that's easier for

   13   Your Honor.        Would you --

   14                 THE COURT:          Yeah, that would be great.         Hold on.

   15                 I mean, don't hold on.            Yeah, go ahead.

   16                 MR. GREENBAUM:          May I approach?

   17                 THE COURT:          Yeah, please.

   18                 Okay.      I don't want to be -- I did this the last

   19   time.     Who's in the audience?

   20                 MALE SPEAKER:          Your Honor, those are all associates

   21   with the Selendy firm.

   22                 THE COURT:          Because last time we had an issue --

   23   maybe it was a different case.

   24                 MALE SPEAKER:          Well, we have had an issue.          I think

   25   that actually goes to the sealing issues before you on this.
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    1   At least as far as I know, everyone in the courtroom is

    2   cleared, Judge.

    3                  THE COURT:         Okay.   Thank you.     Go ahead --

    4                  MR. GREENBAUM:         Your Honor, one of the issues that

    5   we want to try to show on their responses to the changes in

    6   co-pay assistance programs and how has manufacturers,

    7   including JJHCS, has kind of caught on to them and tried to

    8   protect themselves, how they try to wiggle around.

    9                  If we look at page 7, Your Honor, it talks about

   10                                                                   -- this is an

   11   page 7 -- on some of SP -- SOSP -- that's SaveOn SP -- member

   12   claims.

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   18                  Let's turn to page 15.           We have an organizational

   19   chart.      Obviously, relevant.           They say, oh, well, you've got

   20   other organizational charts.

   21                  But it's right here in this document.

   22                  Page 17, it shows

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    1                  And then most relevant, on the next two pages I'm

    2   going to show to point to, page 18,

    3

    4                                                         --

    5                  THE COURT:         I don't even know what that means.

    6                  MR. GREENBAUM:         I'll explain it.

    7                  THE COURT:         Okay.

    8                  MR. GREENBAUM:

    9

   10                  THE COURT:         Okay.

   11                  MR. GREENBAUM:         Warm transfers, Your Honor, it goes

   12   to the heart of our case.                 We have alleged -- and I think

   13   it's somewhat admitted -- that the way SaveOn makes it money

   14   is when somebody tries to get its prescription filled, they

   15   say, "No, we're not going to fill it."                     And they call it a

   16   "warm transfer."              They say, "No, we're going to hold it up,"

   17   and then basically they're going to hold it up until they

   18   sign up for the SaveOn SP program.

   19                  So they then transfer to Accredo, and then they try

   20   to get them agree to say -- to join SaveOn.                      And some

   21   customers have resisted that.                  And they say, "Well, what's

   22   this all about?          Who are you?"          And they don't get disclosed

   23   who they are.         And we've seen in other documents that they

   24   mislead the consumers.              They say, "Well, who are you calling

   25   from?     Or you calling from our employer?"
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    1                  "Well, we're representing your insurer."                Or,

    2   "We're calling on behalf of the ESI."                  And they mislead the

    3   public.      The warm transfer goes to the heart of it.

    4                  And they're saying here, we're having a problem

    5   because it's taking too much time on hold.

    6                  And if you look at the next line,

    7

    8

    9                  And then further down the line,

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   12                  Well, we have seen from some other emails, they

   13   have frequent asked questions.                 Well, if someone said --

   14   well, they're saying they're not going to pay for me if I'm

   15   on the SaveOn program.

   16                  We are not a program.           Tell -- and they tell their

   17   PSRs, tell them we're not a program.                 We're calling on behalf

   18   of -- we're just an advisor.               They tell them to say we're not

   19   an accumulator.          We're not a maximizer.          They're misleading

   20   the public.

   21                  And this is the heart of it.             It shows their

   22   intent.      And if we can tie in these plans with the emails

   23   that we've otherwise gotten, we can show that it comes from

   24   the very top.         That's what these business plans are.

   25                  And, finally, look to page 18 -- 22.               22 goes
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    2                                                                     This is the

    3   heart of the case.             We're trying to show that they are trying

    4   to circumvent the changes at manufacturers are making to

    5   defeat their efforts to take our money.

    6                  So these -- this is only one.              I don't know why we

    7   have it.       But we know there's no burden here.

    8                  So why are they fighting so hard if this is not

    9   relevant?       It's relevant.         It goes to the heart.          And they

   10   just don't want us to see it because they know it's going to

   11   be very harmful to their case.                  We want to see all the

   12   business plans.

   13                  So what's their response?             Well, their joint

   14   letter, they first make this silly argument, "Well, it's

   15   cumulative, that you already have all these thousands of

   16   documents."        What do they needed this for?

   17                  And we said, well, it's right there in one

   18   document.       It shows their intent.

   19                  And they said, oh, they can figure it out from the

   20   other document.

   21                  That's not a basis.             It's kind of a silly argument.

   22   They concede the relevance, but they are saying, ah, it's

   23   just one more document.

   24                  Well, it's not one more.             The document goes to the

   25   heart of it.
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    1                 And then they say, well, it relates to Your Honor's

    2   prior ruling but it involves some non-Janssen drugs.                      Well,

    3   that completely misstates Your Honor's prior ruling.

    4   Your Honor ruled that when we asked for thousands of pages of

    5   documents on prescriptions for non-Janssen drugs, we weren't

    6   going to get that.

    7                 But in that very application, we even admitted they

    8   would give us documents that related to Janssen drugs and

    9   other drugs, even if it doesn't mention Janssen, the drugs

   10   generally, but they didn't want us to go down the path of

   11   thousands of documents relating to non-Janssen drugs.

   12                 That's not this situation.             This is a carefully

   13   honed request.          This may be five or ten documents involved.

   14   There's no burden.             It goes to the heart of our case, and it

   15   should be given.

   16                 Now, I just want to spend a moment on the --

   17                 THE COURT:          So you want the business plan which

   18   looks like this, I assume, from how many years?

   19                 MR. GREENBAUM:          From that we've all agreed what the

   20   discovery period is.              I think it's from 2016 to 2022.

   21                 THE COURT:          Okay.

   22                 MR. GREENBAUM:          We just want them for those years.

   23                 THE COURT:          And this is what you're calling a

   24   "business plan" --

   25                 MR. GREENBAUM:          Yes.
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    1                 THE COURT:          -- just so I understand.        Okay.

    2                 MR. GREENBAUM:             It says it:    "SaveOn SP Business

    3   Plan."

    4                 THE COURT:          Yep.

    5                 MR. GREENBAUM:             There's no hard -- they understand

    6   what we want.         They just don't want to give it to us because

    7   they know how relevant it is and how revealing they'll be.

    8                 Now, one other minor point, there was a

    9   meet-and-confer.              Your Honor gave a preliminary indication.

   10   So what's the meet-and-confer?                 As we said in the letter, it

   11   was heads, I win; tails, you lose.

   12                 I said, "Well, the judge said she was likely to

   13   give 62," which relates to the operation -- operational

   14   agreement -- operating agreement, which is the heart of that

   15   request.

   16                 "Well, we don't want to give you that.                 We'll give

   17   you, you know, the social guidelines."

   18                 And I said, "Well, what about on 61?"

   19                 "Oh, we're not offering anything on 61."

   20                 So that was kind of a waste of time.                We got

   21   nowhere on that.

   22                 Your Honor, I have nothing more to say at the

   23   moment other than this is -- goes to the heart of our case.

   24   It's a limited number of documents.                    And they've already

   25   produced one, and they should produce the others and do it
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    1   forthwith.

    2                 Thank you.

    3                 THE COURT:          Okay.   Thank you.

    4                 So who -- why -- who's going to speak on this?

    5                 MS. SNOW:         Your Honor, Elizabeth Snow from Selendy

    6   Gay.

    7                 THE COURT:          So, Ms. Snow, first of all, why do they

    8   have the 2019 business plan?

    9                 MS. SNOW:         Your Honor, honestly, it was produced

   10   inadvertently.          We've been reviewing 600,000 documents, as

   11   they know.        We've produced over -- approximately 120,000

   12   documents.        And, as Your Honor knows, in productions that

   13   large, mistakes can happen.

   14                 THE COURT:          When did you produce this?

   15                 MS. SNOW:         I believe in March.         And, you know, we

   16   don't intend to claw it back.                  But we do not believe that --

   17                 THE COURT:          Okay.

   18                 MS. SNOW:         -- contained in the business plans, writ

   19   large, is relevant.              The only information, as Mr. Greenbaum

   20   pointed to -- you know, he pointed to Biogen.                     Biogen is not

   21   Janssen.       Biogen -- there's no possible allegations that

   22   Biogen was harmed in this lawsuit.                  All the other

   23   information, such as the org charts or the consumer emails,

   24   they have thousands of emails about the warm transfer

   25   process.       They have over 20 organizational charts.
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    1                  To the extent there is information relevant in the

    2   business plans, they have that elsewhere.                   And --

    3                  THE COURT:         Where elsewhere?

    4                  And Mr. Greenbaum specifically addressed, which I

    5   want you to talk about, because I don't really understand the

    6   language and, say, page 17, is this what you're saying,

    7   confidential information,

    8

    9                  MS. SNOW:        Yes,                                        ,

   10   which by definition includes well beyond just these related

   11   to Janssen.        Of course, they have all fee information.                They

   12   have 114,000 lines of transaction-by-transaction-level data

   13   about Janssen drugs.

   14                  That is all they need to prove their damages in

   15   this case they have -- their damages claim only rests on what

   16   was done to Johnson & Johnson.                 As Your Honor pointed out at

   17   the March 17 conference at page 16, you said, "I just think

   18   that what doesn't affect Johnson & Johnson is not part of

   19   this lawsuit."

   20                  And the information contained in the business plans

   21   that they do not already have exclusively affects entities

   22   other than Johnson & Johnson.

   23                  THE COURT:         Well, first, I think Mr. Greenbaum made

   24   a point and that is that was applicable to that particular

   25   request, which I don't recall off the top of my head from the
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    1   transcript reading -- I believe that's the point that you

    2   were making.

    3                 And I believe that's the point I'm making.                  I don't

    4   want to make general rulings, nor do I want my language

    5   misconstrued to be applicable to every request or denial to

    6   supply information.

    7                 So I do see it that way.

    8                 But Mr. Greenbaum's point is this -- and it's a

    9   point I'm thinking about, that there's an intent element.                        So

   10   would other conduct, if you will -- I'm not judging it bad or

   11   good -- be applicable to show intent with respect to

   12   Johnson & Johnson Health Services?                 If Biogen or whatever

   13   other company there is is involved in something -- and I

   14   don't know what that is, either -- would that go -- would

   15   that not go towards intent with respect to J&J?

   16                 MS. SNOW:         Well, I think -- well, two things,

   17   Your Honor.

   18                 The dispute in March was over a wide variety of

   19   requests.       We objected to producing documents related to

   20   manufacturers other than Janssen.                It was not a limited

   21   objection.

   22                 But as to your question on intent, SaveOn is not

   23   hiding that it runs a business and it's trying to make a

   24   profit.      That is --

   25                 THE COURT:          Right.
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    1                 MS. SNOW:         -- very normal --

    2                 THE COURT:          And you want to make more money next

    3   year.     And that's okay.

    4                 MS. SNOW:         And we want -- yeah.

    5                 THE COURT:          Yes.

    6                 MS. SNOW:         -- of course.      And what is relevant is

    7   the intent relative to Johnson & Johnson.                   It is not relevant

    8   as to Biogen, as to --

    9                 THE COURT:          Maybe at trial, you're correct.          But

   10   insofar as discovery, would that still apply?                    I am not

   11   saying any of this would be admissible, under any evidentiary

   12   standard, which would be committed to the pleadings, most

   13   likely.

   14                 But this is discovery.            So shouldn't there be a

   15   broader or more circumspect view with respect to intent?

   16                 MS. SNOW:         Well, to the -- I hear what Your Honor

   17   is saying.

   18                 To the extent they need documents regarding intent,

   19   they have tens of thousands of emails discussing if the

   20   responses to other co-pay -- to co-pay assistance programs

   21   that aren't Janssen.              They have general -- we've produced

   22   certainly general documents about business strategy.                      We've

   23   produced tens of -- or -- I should say thousands of mails

   24   from even the founders of SaveOn to new clients or potential

   25   clients discussing their business model.                   We've produced
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    1   thousands of communications to patients.

    2                 To the -- we've produced -- as Mr. Greenbaum said,

    3   we've produced 140,000 call records of the patient service

    4   representatives speak to patients.

    5                 To the extent they need to know what SaveOn -- how

    6   it views its business, how it markets its business and its

    7   goals that are relevant, it has those documents.

    8                 What it lacks and what we believe should not be

    9   produced is its broad financial information, which is

   10   unrelated to Janssen drugs, to the contracts at issue --

   11   again, they've alleged a tortious interference claim, but

   12   it's about the contracts between patients and CarePath, not

   13   patients and every co-pay assistance program on the market.

   14                 And the information is incredibly sensitive.                  This

   15   is the kind of information that courts grant protective

   16   orders over for a reason.              This kind of information in the

   17   hands of a commercial adversary who has made no bones about

   18   the fact that they are hell-bent on destroying SaveOn, seeks

   19   to use this information -- we don't know why they seek this

   20   information.         They want information that is irrelevant to the

   21   case, and we know that they're trying to shut down SaveOn.

   22   That is in their complaint.               We know that they -- you know,

   23   we don't know exactly how they intend to deploy this

   24   information, but that is why they want this information.

   25                 THE COURT:          Well, what if it's produced for
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    1   attorney's eyes only, though?                  Doesn't that suffice in terms

    2   of protection?

    3                  MS. SNOW:        So, first and importantly, we don't

    4   believe that attorney's eyes only can turn this irrelevant

    5   information into relevant information.

    6                  THE COURT:         Okay.

    7                  MS. SNOW:        We also understand that protective

    8   orders are imperfect.              They have shown Your Honor that AEO is

    9   not always the end of the line.                  And they can use AEO and

   10   show it to their in-house counsel.                  It might be used to

   11   affect litigation strategy.

   12                  Remember, this is a $400 billion company facing off

   13   against a small private LLC.                We don't know exactly how

   14   they're going to use it.

   15                  THE COURT:         So, Mr. Greenbaum, did you want to

   16   respond --

   17                  Were you done, Ms. Snow?             I'm sorry.     I'll get back

   18   to you too.

   19                  MS. SNOW:        Okay.

   20                  MR. GREENBAUM:           Yes, Your Honor, I did want to

   21   respond --

   22                  THE COURT:         But, wait, wait, wait, wait.

   23                  So turn to page 7.           I'm just curious what that

   24   means to you, page 7

   25
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    1                 So does this tell you that there's some kind of

    2   intent that's illicit, if you will, or untoward?

    3                 MR. GREENBAUM:          Well, I should say untoward.          It

    4   shows their plans here.              They're going to try to come up with

    5   a way of going around the denials so that they don't disrupt

    6   their business.

    7                 Their efforts and their nimbleness of trying to

    8   react every time the manufacturers generally are trying

    9   defeat what they're trying to do, which is take money that

   10   doesn't belong to them.              Janssen is what JJHCS and the other

   11   manufacturers are doing this to help the patients.                     Not to

   12   line the pockets of SaveOn and this Express Scripts.

   13                 And they understand that.             So they try to keep

   14   their involvement secret.

   15                 And they're saying, well, if they catch on and they

   16   deny it, we'll figure out a way of paying them anyway through

   17   a different source.

   18                 That's what it means.            And the fact that it's

   19   Biogen and not JJHCS is really irrelevant because it goes to

   20   their strategy with all manufacturers.                  We have to show the

   21   harm to the public.              And this is showing their intent and

   22   their -- the conduct with all manufacturers is relevant to

   23   showing their intent and proving our case.

   24                 And I'll give you a further example of we were able

   25   to find a document they produced that precedes this business
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    1   plan but directly addresses this issue.

    2                                                               And it says, I'm

    3   reading here from a document, SOSP 300160, and it says -- and

    4   I'll share this with counsel --

    5                  THE COURT:         Go ahead.

    6                  MR. GREENBAUM:         [As read]

    7

    8

    9

   10

   11

   12                  And then it goes on.

   13                  They talk about the manufacturer.                They don't say

   14   everybody but Janssen or but JJHCS.                 This is their general

   15   plan.     This goes to proving our intent.               We're trying to show

   16   how this program works, that their efforts are to circumvent

   17   what we're trying to stop.               And these document go to the

   18   heart of showing their intent.

   19                  Sure.     The -- Your Honor is absolutely right.                  They

   20   are worried about -- we're not a competitor.                     Yes?   We don't

   21   like what they're doing.              But we're not a competitor.          And

   22   Your Honor properly has said that eyes of counsel only will

   23   protect this information.              We previously wanted to share

   24   other information with our clients for business purpose, and

   25   Your Honor said, "No.              Don't do that."      Well, we're honoring
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    1   that.     And that's how discovery works.               We have a protective

    2   order in for that purpose.

    3                 They're not seeking to claw back this document

    4   which has the numbers in it.

    5                 So I think the others are clearly relevant, and

    6   they should be produced.

    7                 Again, we're trying prove the harm to the public in

    8   general, and we have to show their intent.                      And intent is

    9   relevant to both of our claims.                If we can't prove intent,

   10   we're not going to prevail.

   11                 And that's what discovery is all about, Your Honor.

   12   And these are critical documents to get us there.                      Thank you.

   13                 THE COURT:          So what does this mean:         We reacted to

   14   patient needs by funding these claims through the tertiary --

   15   to keep member disruption to a minimum?

   16                 MS. SNOW:         Yes, Your Honor.

   17                 Without seeing the document, it's a bit hard to

   18   describe.

   19                 MR. GREENBAUM:          This document is attached to the

   20   joint letter.         So it's --

   21                 MALE SPEAKER:          We have --

   22          (Simultaneous conversation)

   23                 MR. GREENBAUM:          And, Your Honor, I want to make one

   24   other point --

   25                 THE COURT:          Go ahead.
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    1                  MR. GREENBAUM:           -- before she answers.       A lot of

    2   this is in code.              They're not going to come out in the

    3   business plan and say, "We intend to screw all the

    4   manufacturers."

    5                  THE COURT:         I know.

    6                  MR. GREENBAUM:           So we have to do this, we have to

    7   piece this together with other documents we've seen.                      And

    8   this is what reveals the intent.                We take these general coded

    9   sentences -- like it says,

   10

   11                     Then we see a frequently asked question that

   12   says, basically, "Lie.              They will them lies."

   13                  Well, it doesn't say they will them lies in here.

   14   But when we tie that in with the other documents, it shows

   15   the intent.        That's why this is so relevant.

   16                  THE COURT:         No.    I understand.

   17                  MR. GREENBAUM:           Thank you.

   18                  THE COURT:         And today that's a very familiar

   19   weapon.

   20                  So explain to me what that means.

   21                  MS. SNOW:        So what this document shows is SaveOn's

   22   goal is to help health plans be able to provide drugs -- or

   23   be able to keep drugs on their formulary.                   If a co-pay is

   24   denied, part of what SaveOn and the plans that it advises

   25   have promised is that their patients will pay zero dollars
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    1   for the drug.

    2                  Now, I just want to be clear that J&J -- the money

    3   for the drugs never goes to the patients.                   It goes from the

    4   pharmacy to the plans.              It doesn't touch the patients at any

    5   point.

    6                  So what this document is showing is that for Biogen

    7   drugs -- again, not Janssen drugs that are actually at

    8   issue -- that the -- that SaveOn is trying to make sure if

    9   the co-pay is denied at Accredo, that the patient pays zero

   10   for the drug.         That's the intent contained in this document.

   11                  And the intent -- you know, on page 7, which you

   12   pointed to in the business plans, it says,

   13

   14                                                              Again the intent

   15   that all of this is showing is to help the patients.

   16                  And, again, this is showing financial information

   17   related to Biogen which is wholly unrelated to J&J's claims

   18   in this case.         It's claims are, again, it's tortious

   19   interference with CarePath contracts regarding the sale of

   20   Janssen drugs.          It's that SaveOn violated consumer protection

   21   law by causing stress and confusion to patients taking

   22   Janssen drugs.          The damages at issue in this case are that

   23   J&J -- JJHCS paid more in CarePath funds than it intended to

   24   for Janssen drugs.

   25                  And they have to show this is relevant.
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    1                 And this is completely unrelated to Janssen drugs.

    2   And to the extent that, you know, they need to see broad

    3   strategy, as I said earlier, they have those documents

    4   already.       This is -- these are incredibly harmful financial

    5   information regarding other manufacturers that has nothing to

    6   do with CarePath.             And that type of harmful information is

    7   exactly the type in the hands of a commercial adversary --

    8   Mr. Greenbaum says that J&J is not a horizontal competitor,

    9   but the law recognizes that you don't need to be just a

   10   horizontal competitor to be a commercial adversary.                       And this

   11   litigation is good evidence that we are commercial

   12   adversaries.         They intend to destroy SaveOn.

   13                 MR. GREENBAUM:          Your Honor, two points.          They are

   14   correct that the documents will be harmful.                      It's harmful to

   15   their litigation because it shows their intent.

   16                 And, Your Honor, they argue, well, this may relate

   17   to Biogen.        It really doesn't apply to JJHCS.

   18                 That's an argument about admissibility.                  We say

   19   it's directly relevant to this case because it shows their

   20   pattern and practice, how they're running their business to

   21   deal with all manufacturers, including us.                      They previously

   22   said we won't object to discovery that deals with drugs

   23   generally and all manufacturers, including you.                      Let them

   24   argue later on that it's not admissible.                   But the whole point

   25   of discovery is we get the documents so we can argue about
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    1   it.

    2                  This is not determining -- and as I read to you,

    3   the fact that it may not be admissible is not a reason to

    4   deny discovery.          We think this is very relevant.             It shows to

    5   intent.      Intent is hard to prove.            They're fighting because

    6   it is harmful.          It's harmful to their case.             And that's why

    7   it should be produced -- because we're entitled to it.

    8                  Thank you.

    9                  THE COURT:         So, Mr. Greenbaum, your request is for

   10   all business plans from 2016 to 2022?

   11                  MR. GREENBAUM:         Correct.     It's probably eight to 30

   12   documents -- just guessing.               If they do them quarterly or

   13   annually; I am not sure.              If it's annual, then there's going

   14   to be six of them.             -- or four of them -- five of them.

   15                  THE COURT:         Yeah, I am not concerned with burden.

   16                  MR. GREENBAUM:         Nor were they.

   17                  And, Your Honor, just to reiterate on page 22, it

   18   goes right to

   19

   20                  That's what this case is about.

   21                  THE COURT:         Yeah.   I mean, honestly, I don't know a

   22   lot about the technicalities of other than what you've

   23   instructed me through your writings and argument.

   24                  But, I mean, it looks like these can go either way.

   25                  And I think I'm going to reconsider what I forecast
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    1   and ask that you turn them -- order that you turn the

    2   business plans over for attorney's eyes only.

    3                 I think Mr. Greenbaum's correct that possibly some

    4   interpretation might go to intent.                   On the other hand,

    5   cursory review tells me that this is not necessarily so

    6   harmful.

    7                 I think it is discoverable.              I doubt -- and I can't

    8   predict what the district judge is going to do -- that it's

    9   going to be admitted into evidence unless there's some kind

   10   of explosive uncovering of something.

   11                 But I find that they are relevant and you shall

   12   turn them over, all business plans between 2016, 2022.

   13                 MR. GREENBAUM:            Should we go on to 62 now?

   14                 THE COURT:          You want to give me a breath?

   15                 MR. GREENBAUM:            Yeah, sorry.

   16                 THE COURT:          He's motoring today.          Huh?

   17                 Now --

   18                 MR. GREENBAUM:            I don't want to waste your time,

   19   Your Honor.        So we --

   20                 THE COURT:          No.    I -- although I've suggested a

   21   special master, I told you last time, I do enjoy these

   22   conversations.          So.

   23                 MR. GREENBAUM:            Thank you.

   24                 THE COURT:          I just don't like Friday night

   25   11 o'clock submissions too much.
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    1                 And but Evan says that he did it himself, so I

    2   can't -- you know, I can't get mad then.

    3                 MR. WOHLFORTH:          I said without an associate.           I

    4   wasn't -- I was involved with it, and I had the able

    5   assistance of a clerk at the firm.

    6                 THE COURT:          Okay.   I just don't want to see some

    7   poor associate at 11 o'clock on a Friday night.

    8                 MR. WOHLFORTH:          Didn't happen, Your Honor.          Just --

    9                 MR. GREENBAUM:          That's the decision we made, we

   10   intentionally did not file a response at 11:00.                     We waited

   11   until Monday morning for that reason.

   12                 THE COURT:          That's good.

   13                 I have concern for the future of this profession,

   14   which is standing before me, in many respects.

   15                 So you want to get to 63?             That is the corporate

   16   governance documents?

   17                 MR. GREENBAUM:          Yes, Your Honor.

   18                 THE COURT:          And I -- okay.     Go ahead.

   19                 MR. LOBIONDO:          Thank you, Your Honor.         George

   20   Lobiondo from Patterson Belknap.

   21                 I'm going to keep my remarks short because there's

   22   actually only one category of documents that's remaining in

   23   dispute, and that's the operating agreements.                    And we're

   24   asking for these because there's a lot we still don't know

   25   about SaveOn's operations.                My friend on the other side
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    1   described them as a small private LLC.

    2                 It's true that they're very private.                They're made

    3   up of other LLCs and entities.                 And now that we're in

    4   discovery -- depositions, we don't think that they should be

    5   able to hide behind the corporate form any longer.

    6                 Now, again, their response is they produced

    7   organizational charts and they produced emails.                     And that's

    8   true.

    9                 But their organizational charts don't mention the

   10   entities that are the actual members of the LLC.                     And for

   11   some of the supposed executives that are on the

   12   organizational charts, it's actually not clear that those are

   13   really the people who are calling the shots for SaveOn or

   14   whether they're just figureheads based on what SaveOn has

   15   produced so far.

   16                 So before we go into depositions, we want to

   17   understand how SaveOn operates, who the decision-makers are,

   18   and what rules they have set up to govern those processes.

   19   All we're looking to do is establish from very basic facts

   20   about how the defendant in this case functions.

   21                 Now, the operating agreement in particular is the

   22   key governing document of an LLC.                 It shows where the real

   23   power is.       It will tell us who can bind the LLC.                You can ask

   24   for it.      There is no justification for SaveOn to conceal that

   25   information at this stage in the case.
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    1                 And, finally, I just want to note that SaveOn seems

    2   to concede again that there would be no real burden to

    3   produce these documents.              It's either one document or a

    4   handful of documents.              They're essentially stored.         They know

    5   exactly what they are.              We're just asking for them to produce

    6   it.

    7                 Thank Your Honor.

    8                 THE COURT:          But so these are documents -- I should

    9   probably ask you -- that would show which person acts in

   10   which position with what -- what am I --

   11                 MS. SNOW:         Yes, Your Honor.       So at issue is the

   12   operating agreements.

   13                 THE COURT:          Yeah.

   14                 MS. SNOW:         And as you heard from my colleague, they

   15   want to know who the decision-makers are.

   16                 THE COURT:          Right.

   17                 MS. SNOW:         It shows the agreement between SaveOn

   18   and its member LLCs.              And saliently, the point that they

   19   omitted is it shows how distributions are made.

   20                 So my colleague says that they need to -- they need

   21   to know who the true decision-makers are.                   We're not trying

   22   to hide anything.             They have 20 -- over 20 org charts.           They

   23   have almost 30,000 documents from the founders' custodial

   24   files.      The president of the company is, in fact, the

   25   president of the company and serves in that regard.
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    1                 What we are -- and why we don't believe we should

    2   produce these documents is that they show the distribution

    3   information to the members.               That information --

    4                 THE COURT:          You mean financial distribution.

    5                 MS. SNOW:         The financial distribution.

    6                 THE COURT:          So would that -- would that then --

    7   imply or indicate who a decision-maker is by the basis of

    8   distribution?         I mean, I think that's what you're saying,

    9   Mr. Lobiondo.

   10                 MR. LOBIONDO:          Of course.

   11                 MS. SNOW:         And what we would say to that is they --

   12   it cannot be lost on them who the decision-makers are.                      They

   13   have the documents.              They can see in the documents who is

   14   making the decisions.              They know who the owners are.          In our

   15   Rule 7.1, we explained the member LLCs and who owns those

   16   member LLCs, which takes you back to three owners of the

   17   company, one of who is the president, and one, I believe, is

   18   the managing partner.              Those titles have the same meaning at

   19   SaveOn as they do at any other company.

   20                 They know.          They have the custodial files.          They

   21   know who is making the decisions.                 They know how they are

   22   making those decisions.

   23                 What they don't know is how much of the profits of

   24   SaveOn they're getting.              And the only purpose for that

   25   information and why I think they're seeking this document is
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    1   they want to know -- they want to be able to embarrass,

    2   annoy, harass the founders of the -- of the company.                      And

    3   they want to know -- again, they want to know the war chest

    4   that SaveOn has to fight this litigation.                   That's what's

    5   really at issue in these documents.

    6                 THE COURT:          How would they discover the war

    7   chest -- the litigation war chest through distribution?                          I am

    8   not sure I understand.

    9                 MS. SNOW:         They know what the member LLCs -- how

   10   much money they have in order to fight this litigation, how

   11   much SaveOn has in order to fight the litigation.

   12                 THE COURT:          They don't have that already?

   13                 MS. SNOW:         Well, with the business plans, they may

   14   be a little bit closer.

   15                 But, no, that is key information.                 They should note

   16   be able to take this document -- what they're really seeking

   17   in this document is is the personal financial information of

   18   the members.         That is what's at -- that's what's at issue

   19   that this document -- that's why they want this document.

   20   It's not --

   21                 THE COURT:          Well, but they would just be getting

   22   the distribution.             That's what you mean by personal financial

   23   information?

   24                 MS. SNOW:         Yeah, they know the profits -- they know

   25   the profits that the members are getting out of the company.
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    1   They have everything they could possibly need --

    2                 THE COURT:          I want go back to personal financial

    3   information -- because that's of interest to me.

    4                 So I think what you're saying, Mr. Lobiondo is that

    5   influence is weighted by distribution, w-e-i-g-h-t-e-d.

    6                 MR. LOBIONDO:          Right.    So you and I are operating

    7   at a disadvantage because we're never seen these documents,

    8   but it would be very surprising --

    9                 THE COURT:          I never get to see any documents until

   10   Mr. Greenbaum showed me one.

   11                 MR. LOBIONDO:          Fair enough, Your Honor.

   12                 It would be surprising to me if a governance

   13   document, an operating agreement for an LLC described a war

   14   chest.      What this apparently shows is percentages.                 So, for

   15   example, if the operating agreement says LLC Number 1 gets 99

   16   percent of the profits and LLC Number 2 gets 1 percent of the

   17   profits, that this information that should be turned over in

   18   discovery.        Again, it may not be admissible at trial, but

   19   it's going to be extremely probative of who the

   20   decision-makers are, and it's going to potentially

   21   corroborate other information in their productions and --

   22                 THE COURT:          You are going to ask this in

   23   depositions anyhow; right?

   24                 MR. LOBIONDO:          Well, we're going to ask some

   25   questions, certainly, about --
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    1                 THE COURT:          No.     Just say yes.    You're just going

    2   to -- so -- what are you going to do?                  Object to it?

    3                 MS. SNOW:         Yes, Your Honor.

    4                 THE COURT:          And what's your basis for objection?

    5                 MS. SNOW:         This is completely irrelevant.

    6                 THE COURT:          Not an objection in depositions.

    7   Change gears.

    8                 MS. SNOW:         It is harassing -- harassing the

    9   witness.

   10                 MR. LOBIONDO:             It's part of discovery.      They're

   11   parties.

   12                 MS. SNOW:         The members are not parties to this

   13   litigation.        SaveOn, that is who J&J has the claim against.

   14                 MR. LOBIONDO:             Well, this is a hypothetical

   15   deposition.        Who are we talking about deposing?               I mean,

   16   that's why we can't decide this now.                 We don't have a

   17   deponent.       We don't have questions.            We're flying blind.

   18                 MS. SNOW:         J&J has still not explained how the

   19   percentage of distributions to the partners -- they know the

   20   percentage of ownership.

   21                 What they don't know is the percentage of

   22   distribution --

   23                 THE COURT:          Okay.     They know the percentage of

   24   ownership.

   25                 MS. SNOW:         Yes, it's in the 7.1, I believe.
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    1                 MR. LOBIONDO:          No.   No.   That's -- my understanding

    2   is that that's not accurate.               The 7.1 says who the member

    3   LLCs of the LLC are and then who owns those underlying

    4   entities.       There's no discussion of distribution of all of

    5   the money they're taking from JJHCS.                 We don't know how

    6   they're treating it on the back end.

    7                 THE COURT:          Well, the distributions would have to

    8   be in line with the percentage of ownership, so if you had

    9   the percentage of ownership rather than the percentage of

   10   distribution, that would be somewhat less intrusive.

   11                 MR. LOBIONDO:          But, again, Your Honor --

   12                 THE COURT:          It would go -- and -- wouldn't that go

   13   toward the question -- wouldn't that go towards influence, as

   14   you say, in decision-making?

   15                 MR. LOBIONDO:          Well, we need the whole picture --

   16   right? -- because if hypothetically -- I don't think it's

   17   true, but if hypothetically we knew that these two LLCs were

   18   supposedly equal members of SaveOn --

   19                 THE COURT:          Right.

   20                 MR. LOBIONDO:          But it turned out that in, in fact,

   21   one of them was getting all of the money and the other one

   22   wasn't, then it's actually not probative that they are

   23   supposedly equal partners because the money is telling a

   24   different story.

   25                 And so I don't want to buy into their
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    1   characterization that this is all about money, but it's a

    2   pretty basic governance document that 90 of 100 cases would

    3   have been the first thing produced.                 But to the extent

    4   they're saying any document that has a dollar sign on it or

    5   talks about money is per se exempt from disclosure, that's --

    6   we're just not -- we don't have to take their word for it.

    7   We're entitled to see basic documents about how their

    8   organization works before depositions.

    9                 MS. SNOW:         Your Honor, first of all, we've produced

   10   loads of documents with dollar signs on it.                     They're not at a

   11   loss for knowing how much money SaveOn makes relative to

   12   CarePath.       They do not need to know the personal profits

   13   obtained by the members of this private LLC.

   14                 And what I have not heard them address is how the

   15   distribution -- they say that it goes to the weight one of

   16   decisions.        They have emails showing the decisions getting

   17   made.     They don't need to know the percentage of

   18   distributions to be able to read the emails that show how the

   19   three founders are communicating with each other and how

   20   they're making the important decisions at SaveOn.

   21                 THE COURT:          Well, but they're not talking about

   22   just the three founders.

   23                 MS. SNOW:         That is exactly what they're talking

   24   about.      There are two member LLCs, the parties to these

   25   operating agreements.
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    1                 As is in the 7.1, it is explained that one of the

    2   two member LLCs is owned by one of the founders.                     The other

    3   is -- the other's members are the other two founders.

    4                 What they're really talking about is the three

    5   founders and how the three of them make decisions.                     And we've

    6   produced --

    7                 THE COURT:          Is that true?     This is just --

    8                 MS. SNOW:         -- 30,000 emails.

    9                 MR. LOBIONDO:          We don't know how their organization

   10   operates.

   11                 What we said is we've looked at their org charts.

   12   We've looked at the emails they produced, and in certain

   13   respects, we don't think the titles of all of their supposed

   14   executives line up with how the decisions are actually made.

   15                 THE COURT:          But there's only three people that

   16   you're talking about insofar as who owns the smaller -- the

   17   LLCs?

   18                 MR. LOBIONDO:          We have no idea.       We haven't seen

   19   the operating agreements.

   20                 THE COURT:          If you have no idea, then you're not

   21   communicating.

   22                 MS. SNOW:         Your Honor, it's in the 7.1.          It says

   23   exactly the two member LLCs and who are the members of those.

   24   It is two individuals -- I represent to you today that it is

   25   three individuals --
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    1                 THE COURT:          In all the LL -- how many LLCs are

    2   there?

    3                 MS. SNOW:         There are two.      One of them is -- has

    4   two members who are two of the founding partners.                     One has

    5   a -- the other LLC has a single member.

    6                 All of that information is in the 7.1.

    7                 THE COURT:          I was under a misimpression that we're

    8   talking about more than three people and distributions

    9   amongst more than three people.

   10                 MR. LOBIONDO:          The operating, agreements, we

   11   presume, although we haven't seen them, will tell us how

   12   these entities, however many they are, operate; who makes

   13   decisions for SaveOn; when there's a dispute among the LLC

   14   members, who wins; and potentially, according to them, what

   15   the percentages are of who gets what money.                     But not a war

   16   chest, but --

   17                 THE COURT:          But they're willing to tell you, from

   18   what I intuit from this conversation, the percentages.                      They

   19   don't necessarily want to tell you the precise numbers of

   20   distribution.

   21                 Have I misinterpreted your argument?

   22                 MS. SNOW:         Your Honor, we're willing to comply with

   23   Rule 7.1, which we complied with, which is why they know who

   24   our member LLCs are and they know who the founders are.

   25                 That is what we --
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    1                 THE COURT:          But do -- are the percentages written

    2   out as to the LLCs?              That's -- just his point is that the

    3   more money somebody gets, the more persuasive they may be.

    4   And he's going to ask this in deposition anyhow.                      And you are

    5   going to call me, and I'm going to say "Answer the question,"

    6   just so you know.

    7                 But outside of that, if you give them the operating

    8   agreement so they know the percentage of influence, if you

    9   will -- unless I'm misinterpreting this whole thing -- why --

   10   he doesn't need to know the amount of money they get

   11   necessarily.

   12                 MS. SNOW:         But, Your Honor, based on the business

   13   plans, based on -- they will have the amount of money.                       They

   14   will be able to calculate it.                  If they receive the percentage

   15   and they receive the total amount of money, they will know

   16   the personal profits obtained by these founders.

   17                 MR. LOBIONDO:          That's not an argument about the

   18   operating agreements.              The fact that the operating agreements

   19   says --

   20                 THE COURT:          Yeah, I mean, the operating agreements

   21   are turned over in initial.               He is right about that.

   22                 MS. SNOW:         Not if they're irrelevant.           They have

   23   not made any claim relative to the member LLCs, they have not

   24   sued the member LLCs or the founders.                   They're not -- nothing

   25   in their claim relates to the corporate structure of SaveOn.
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    1                 MR. LOBIONDO:          We're just trying to get to the key

    2   decision-makers.              We want to have the information about how

    3   the defendant in this case operates before we go into

    4   depositions.

    5                 MS. SNOW:         And, Your Honor --

    6                 MR. LOBIONDO:          It's relevant.      I mean, it's

    7   facially relevant.

    8                 MS. SNOW:         Your Honor, and they have it.          If you

    9   turn to page 15 of the --

   10                 THE COURT:          I saw that.    Organizational chart.

   11                 MS. SNOW:         -- business plan, the three founders are

   12   listed at the top in red.

   13                 THE COURT:          Right.

   14                 MS. SNOW:         They have all the information that they

   15   are seeking except for the information about how much money

   16   those individuals have made from SaveOn.                   That's what we're

   17   fighting for.

   18                 MR. LOBIONDO:          Your Honor, I don't want to belabor

   19   the points, but I have their 7.1 here.                  And it says --

   20                 THE COURT:          I thought you were going to offer me a

   21   compromise here.

   22                 But, go ahead.

   23                 MR. LOBIONDO:          Sorry, Your Honor.

   24                 So it says that SaveOn is -- has these numbers,

   25   Break Wall Holdings LLC [phonetic] and the members of Break
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    1   Wall Holdings LLC are two actual humans.

    2                 And then it also says Net Equity Holdings Inc.

    3   [phonetic] is a Florida corporation and has its principal

    4   place of business in Florida.

    5                 So, apparently, one of the two members of SaveOn is

    6   a company.        All we know about it is that it's in Florida.                  We

    7   know all of this about there's three owners.                    I don't know

    8   anything about Net Equity.               And they resisted discovery about

    9   it.

   10                 So in the first instance, we would like to see the

   11   operating agreements, and then presumably that will give us

   12   at least more information than we have today about the key

   13   decision-makers and about who the managing member of the LLC

   14   is.

   15                 But I don't think -- I mean, the notion that

   16   everything is just black and white if we would only read the

   17   7.1 is not true.

   18                 MS. SNOW:         And I'm not saying they need to stop at

   19   the 7.1.       I'm saying look at over 30,000 emails we've turned

   20   over.     Look at the organization charts we've turned over.

   21                 We've said -- I mean, we're not hiding the ball.

   22   What he said when he said the two people on the 7.1 is Jody

   23   Miller and Claudia Dunbar.               They're at the top of this

   24   organizational chart.

   25                 THE COURT:          Can you turn over the operating
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    1   agreements with a redaction of money?

    2                 MS. SNOW:         Or percentages, Your Honor?

    3                 THE COURT:          No, money.    I didn't say percentages.

    4   I said money.

    5                 MS. SNOW:         But the operating agreements are about

    6   percentages, and that's what's going to give them --

    7                 THE COURT:          So there's money in the operating

    8   agreements.        There's no distribution amount?

    9                 MS. SNOW:         There are certain financial figures --

   10   of the initial advancement --

   11                 THE COURT:          This is always like shooting in the

   12   dark because you don't know what it is.

   13                 MS. SNOW:         Pardon, Your Honor.        There is certain

   14   financial information about the initial investments into

   15   SaveOn from the members that have, again, no relevance.

   16                 THE COURT:          I think it does have relevance because

   17   certainly that would be an indication of influence.                      Somebody

   18   put in a dollar and somebody else put in a hundred dollars, I

   19   would think the person with the larger investment is the

   20   bigger decision-maker.

   21                 I don't know that.           That's for deposition.         But I

   22   don't see what the harm in investment is.                   I'm saying

   23   distribution can be redacted.

   24                 From what I'm hearing, they have no idea how

   25   anything operates.             And that's not right.
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    1                 MS. SNOW:         Your Honor.     That's just not true.            If

    2   they look at our documents, they know -- we produced over

    3   120,000 documents.

    4                 THE COURT:          Yeah, everybody always says how much

    5   they produce, but I don't -- that doesn't say anything to me.

    6                 MS. SNOW:         Right.

    7                 THE COURT:          I need to know what was produced, and

    8   what was produced that shows them what -- who is the decision

    9   make -- excuse me -- decision-maker and which LLC.

   10                 MR. LOBIONDO:          And based on what they produced, we

   11   don't have the first idea of who Net Equity is.                     Net Equity

   12   is --

   13                 THE COURT:          He's saying they know it's in Florida,

   14   and that's all they know.

   15                 I -- you know, maybe you're not talking to each

   16   other again.         I'm hearing two different stories.

   17                 MS. SNOW:         Your Honor, to go to the documents, to

   18   go to your prior question as to what we've produced, we've

   19   produced documents of those founders that we're talking about

   20   today, describing how they're going pitch themselves to

   21   clients, how they are going to get new clients, how they're

   22   going to respond to the market.

   23                 THE COURT:          How does that tell me who the

   24   decision-maker is?

   25                 MS. SNOW:         They're showing the decisions.
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    1   They're -- the documents are showing the decisions of how

    2   they're going to -- what's going to go into the contracts,

    3   how they're going to talk to patients, how they're going to

    4   set up the warm transfer process that Mr. Greenbaum referred

    5   to earlier.

    6                 THE COURT:          How does that tell me who the

    7   decision-makers are?

    8                 MS. SNOW:         It shows who you is actually -- it's a

    9   difference.        Looking on an org chart may show you who the

   10   decision-makers are in one way.                But emails which show the

   11   decisions actually being made shows you who the

   12   decision-makers are.              And they may not be looking at our

   13   documents, but we have produced thousands of those documents.

   14   And this document, the operating agreement has sensitive

   15   financial information about the members --

   16                 THE COURT:          What else other than what they put up?

   17   What other sensitive financial information other than their

   18   investment?

   19                 MS. SNOW:         The distributions.

   20                 THE COURT:          Well, I already told you you can cut

   21   out the distributions.

   22                 MS. SNOW:         But it's the percentages of the

   23   distributions that is sensitive.

   24                 THE COURT:          Well, one or the other is sensitive --

   25   why is the percentage of distribution sensitive?
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    1                 MS. SNOW:         It's sensitive because as Your Honor

    2   just ordered the production of the business plans --

    3                 THE COURT:          Right.

    4                 MS. SNOW:         -- they will see the overall profit of

    5   SaveOn.      If they take the overall profits of SaveOn, they

    6   will be able, with a percentage, to easily calculate how much

    7   the members are each receiving.                  Therefore, they will have

    8   their personal financial business.                  This isn't about SaveOn's

    9   financial information.              This is about Claudia Dunbar and Jody

   10   Miller.      It's about their financial information.                  And that's

   11   what we're trying to protect.

   12                 MR. LOBIONDO:          I don't want to belabor the point.

   13                 We still don't know -- and after that, we still

   14   don't know who Net Equity is.                  So the notion that we're

   15   supposed to figure out from their emails some entity that we

   16   don't know the first thing about how they play in, doesn't

   17   really make a lot of sense to me, but I can assure you, we

   18   have looked at their emails.               And the reason we asked for

   19   these documents is because the representations that are made

   20   in the org charts about who the certain supposed CEOs are.

   21                 THE COURT:          You can delete the financial

   22   distribution.         Turn over the operating agreements.               If they

   23   figure out how much, then they're going to figure it out.

   24   They're going to ask it in deposition anyhow.

   25                 And I'm telling you, I only accept privilege
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    1   objections.

    2                 MS. SNOW:         Yeah, so we will delete the financial

    3   and the percentages.              Thank you.

    4                 THE COURT:          No, I didn't say percentages.

    5                 MS. SNOW:         You didn't say percentages?          You said

    6   the distribution.             Pardon me.

    7                 THE COURT:          Yeah.   Okay.    I meant the money.       Leave

    8   the percentages in.

    9                 MR. DUNLAP:          Thank you, Your Honor.

   10                 THE COURT:          This is discovery.       This is crazy.

   11                 MR. DUNLAP:          Your Honor, I think that brings us to

   12   our motion --

   13                 THE COURT:          Your protective order?

   14                 MR. DUNLAP:          No, I think that was covered by what

   15   you already --

   16                 THE COURT:          Okay.   Hold on one second, because I

   17   need to check ...

   18                 Okay.      Brings us to.

   19                 MR. DUNLAP:          Our motion to compel answers to

   20   interrogatories and production of documents, Your Honor, J&J

   21   entities other than --

   22                 MR. MANGI:          I'm sorry to interrupt, Your Honor.

   23   Before we go to that, there was the item on the topic about

   24   the protective order application.                 I think counsel is saying

   25   that he sees that's denied.
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    1                 I just want to make sure we have a clear record.

    2                 THE COURT:          Well, I don't know if I would call it

    3   necessarily denied.              I want to take each point piece by

    4   piece.

    5                 You want any financial information protected, I am

    6   not going to do that.

    7                 MR. DUNLAP:          Well, I think it may be moot at this

    8   point or -- whatever term you want to use.

    9                 THE COURT:          Well, in terms of this particular -- in

   10   terms of 61 and 62, yeah.

   11                 MR. DUNLAP:          The reason we had moved for a

   12   protective order was just because we see consistent requests

   13   by them for financial information that's unrelated to

   14   CarePath --

   15                 THE COURT:          I'll take it one by one.

   16                 MR. DUNLAP:          We heard you.     That's why we're moving

   17   on.

   18                 THE COURT:          Okay.   And that's not to say I'm never

   19   releasing -- or I'm always releasing, but I've got to take

   20   the piecemeal.          It's too big to make blanket rulings on.

   21                 MR. DUNLAP:          Yes, Your Honor.      And in the light of

   22   what you just said, I'd like to turn to our motion, which

   23   is --

   24                 THE COURT:          Okay.

   25                 MR. DUNLAP:          -- to compel Johnson & Johnson to
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    1   answer interrogatories and produce documents from custodians

    2   or individuals who work at Johnson & Johnson but outside of

    3   JJHCS, which is the entity that brought the suit.

    4                 And our motion is very straightforward.                 It is a

    5   bedrock fundamental discovery rule that a litigant has to

    6   answer interrogatories based on information within its

    7   possession, custody, or control.                And it has to identify

    8   individuals who have documents -- within their possession,

    9   custody, or control.

   10                 And it doesn't matter in this case if the documents

   11   reside within JJHCS or outside of JJHCS as long as they are

   12   within possession, custody, or control of JJHCS.

   13                 And JJHCS does not dispute, as far as I understand

   14   it, that they have possession, custody, or control of

   15   documents in other Johnson & Johnson affiliates.

   16                 But they have simply decided that they are not

   17   going to answer interrogatories based on information outside

   18   JJHCS.      They are not going to designate any document

   19   custodians from any company outside of JJHCS.                    And we take

   20   their letter to say that they haven't done an investigation

   21   or at least not until recently outside of JJHCS.                     They say on

   22   page 10 of their letter, where we identify certain

   23   individuals outside of JJHCS what appear to have relevant

   24   materials, that they have conducted what they call a

   25   preliminary investigation.               That's at the bottom of page 10.
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    1   If you're following along, Your Honor.                   It's in the -- right

    2   under the old header.              The first sentence.

    3                 THE COURT:          Okay.     Go ahead.

    4                 MR. DUNLAP:          Right?      Preliminary investigation is

    5   their way of saying they haven't done any investigation

    6   outside of JJHCS up until this point.                   They simply didn't

    7   want to do it.

    8                 But we think that could be the end of this motion.

    9   They -- the rules required them to identify document

   10   custodians or individual documents within their possession,

   11   custody, or control to answer with information within their

   12   possession, custody, or control.                  And they simply didn't do

   13   it.    We don't think there's any argument that excuses it.

   14   It's a nonnegotiable baseline discovery obligation.

   15                 But we think that there is more here, and we put it

   16   in the letter that we think makes their refusal, the

   17   self-help they're engaged in, particularly egregious.                       There

   18   is substantial evidence that key decisions about CarePath and

   19   issues related to this case were made outside of JJHCS,

   20   specifically at the Janssen division of Johnson & Johnson.

   21                 And Janssen is the entity that actually makes the

   22   drugs at issue.          They're the ones that set the prices for the

   23   drugs.      They're the ones that sell the drugs.                 They're the

   24   ones that get the revenue for the drugs.                    JJHCS is a service

   25   provider that runs CarePath as part of the marketing arm to
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    1   promote the use of these Janssen drugs.                  JJHCS is not some

    2   independent division.              It does not, as far as we understand

    3   it, make any products.              It simply serves other Johnson &

    4   Johnson divisions and the clients of those other divisions.

    5   JJHCS, as far as we know, doesn't even set its own budget.

    6   Others J&J entities do.

    7                  And in their letter, in response to our portion,

    8   they admit that there are contacts between JJHCS and Janssen.

    9   They admit that there are employees who are, quote,

   10   crossdesignated between Janssen and JJHCS.                      They admit that

   11   some of these folks have documents that are relevant -- they

   12   use the phrase "minimal relevance" -- that's code for the

   13   documents are relevant.

   14                  And if you look at the documents that we have

   15   attached to our motion from their very paltry production,

   16   even those show decisions being made at Janssen about key

   17   issues.      I won't go through them all, but I'm glad to go into

   18   details.       But just a few -- our Exhibit 2 shows a letter to

   19   patients about the terms and conditions that are issued here.

   20   A letter being sent out to all the patients who take these

   21   drugs was, quote,

   22

   23

   24                  Exhibit 33 talks about an FAQ document, a

   25   frequently asked questions document, being circulated about
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    1   CarePath.       It's

    2

    3                  Exhibit 34, which is about something called

    4

    5                                                               It says,

    6

    7

    8

    9                  And there are additional documents that we've cited

   10   to you as well.          And yet they're refusing to do any search in

   11   the first instance of documents from folks outside of four

   12   corners of JJHCS.             Their position is "Well, SaveOn has to

   13   come forward and identify specific gaps in the production."

   14                  But that is flipping the burden.                  It is a matter in

   15   the first instance, they have the obligation to do the

   16   reasonable search, then to produce documents, and we can go

   17   back and forth on burden, and then we identify gaps.                        They

   18   want to skip the part where they have to do the reasonable

   19   search in the first instance.                  But we can't do that.        They're

   20   only looking in the JJHCS filing cabinet.                    They're not

   21   looking in the Janssen filing cabinet sitting right next to

   22   it, and then they're saying, "Well, tell us what's in the

   23   Janssen cabinets, and we'll let you know if it's missing."

   24                  That's not how it works.             They have to -- if

   25   cabinet's within their control, they have to determine if
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    1   there are relevant documents within it.

    2                 Now, we do know, from what they've produced, that

    3   there are big gaps that are missing.                 And all indications

    4   point towards Janssen here.               So, for example, the terms and

    5   conditions which they accuse us of inducing people to breach,

    6   the basis of their tortious interference claim, we know that

    7   those terms and conditions were modified between 2017 and

    8   2022.     But we have no documents showing who made that

    9   decision or why.

   10                 A new terms and conditions were introduced for two

   11   drugs, beginning in 2022.              Again, we don't know who made that

   12   decision or who approved it.               And when the district judge

   13   decided the motion to dismiss, they held that any issues

   14   about the meanings of the terms and conditions would be held

   15   for summary judgment, meaning we should be going after parol

   16   evidence now.         If Johnson & Johnson -- sorry -- Janssen's

   17   leadership team is signing off on communications about the

   18   terms and conditions, that strongly infers that they had a

   19   hand in deciding about introducing these new terms and

   20   conditions in the first place.

   21                 The budget, they changed the budget for CarePath

   22   for these two drugs, also starting in 2022.                      Highly relevant

   23   to allegations of injury and damages into their allegations

   24   about the financial viability of CarePath.                      We have no

   25   documents showing who made those decisions.                      And, again, the
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    1   documents we've shown you indicate that this was decided at

    2   the Janssen level.

    3                 Also, we have affirmative defenses, including

    4   waiver and laches and mitigation.                We have evidence that

    5   Johnson & Johnson knew about the SaveOn program, as they call

    6   it, starting in 2017, but they did nothing for five years.

    7   Nothing.

    8                 Well, why is that?           What did the decision-makers

    9   know?     What did the people in the leadership know?                  Why did

   10   they decide to do nothing about it for five years?                     Highly

   11   relevant.

   12                 They have an obligation to search these files in

   13   the first instance and identify the decision-makers for us.

   14                 Now, in their papers, as they did before, they make

   15   a burden argument is, frankly, a little overstated.                      They

   16   say, oh, SaveOn wants us to search 200 different divisions,

   17   and they want us to talk to 140,000 employees about anybody

   18   whoever brushed up against a SaveOn -- against CarePath in

   19   any form.

   20                 That's just nonsense.            That's not what we're asking

   21   them to do.        They don't need to go search the shampoo

   22   division.       Right?        They don't need to go search the baby

   23   powder division.

   24                 We think that certainly the five Janssen entities,

   25   based on what we've shown here, are relevant.                    Maybe there
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    1   are some other group that is also relevant here.

    2                 But the point is that they should know this; not

    3   us.    Surely JJHCS knows where its budget comes from.                     Surely

    4   they know whose approvals they need to seek.                      Surely they

    5   know whose input and feedback are provided into the

    6   implementation of CarePath.               Surely they know how changes to

    7   the terms and conditions come about and if they had to talk

    8   to anybody outside of JJHCS about it.

    9                 And if, in fact, the responsibility for this is

   10   distributed across different companies or multiple people,

   11   that may be how J&J has decided to set up its business, but

   12   they can't use that complexity to shield critical relevant

   13   documents from us in the first instance.

   14                 So we hear you loud and clear that you want to deal

   15   with things one by one as they come up.                  And I think they're

   16   going to try to use that to say, oh, have them identify a

   17   specific gap.         Let's negotiate about specific custodians.

   18                 But we're at the threshold step.                  They've had to

   19   identify who has relevant material in the first instance.

   20   They had to provide answers to interrogatories based on stuff

   21   in their possession, custody, or control, and they have

   22   failed to do that.             They should answer the interrogatories.

   23   They should identify people that have relevant documents.

   24   Then we can meet and confer about a reasonable search, about

   25   search terms, and they say there's nothing unique; right?
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    1   Well, they'll run the search terms, and all the documents

    2   will be duplicative, and they won't have much to search.

    3                 THE COURT:          And that's exactly what I meant by

    4   taking it point by point.

    5                 MR. DUNLAP:          Exactly.

    6                 But we think they haven't gotten off point one --

    7                 THE COURT:          Okay.

    8                 MR. DUNLAP:          -- in this, which is why we're asking

    9   for them [sic] to grant this motion to compel.

   10                 And when you do, we are glad to work with them as

   11   promptly as we can.

   12                 Thank you.

   13                 MR. SANDICK:          Your Honor, I'd like to address a few

   14   things that Mr. Dunlap said that are not well supported.

   15                 The first point here is that we have answered the

   16   interrogatory, and we have done a good-faith search.                      And we

   17   have determined that the individuals who are responsible for

   18   managing the CarePath program are within JJHCS, number one.

   19                 Number two, throughout their letter, they make

   20   reference to people, and they say, "This person is in JJHCS.

   21   This person is in" -- and more than half the time, they're

   22   incorrect.        The documents that they've supported do not show

   23   the decisions being made by people within Janssen.                     What they

   24   show is people in Janssen either providing information to

   25   JJHCS about a particular drug or about a particular issue
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    1   relating to a drug, or they show people being advised of what

    2   is happening within JJHCS.

    3                 The idea that we have ignored the interrogatory, we

    4   haven't done an investigation is false.                  It's a canard.          This

    5   is not accurate.

    6                 What is underlying the problem here, Your Honor, is

    7   the total failure by counsel for SaveOn to engage in

    8   meet-and-confer on these issues.                On May 9th, they sent us a

    9   letter and asked about a number of custodians.                    We wrote back

   10   about a week letter and said, "We'll give you one of those

   11   custodians.        The others, we don't think they're relevant.

   12   This is why."

   13                 And what we expected -- that was May 19th -- was

   14   that we would hear from them in a week or two saying, "Well,

   15   maybe these people are relevant.                Here are some other ideas,"

   16   and have a back-and-forth.

   17                 THE COURT:          And then you would bring it to me.

   18                 MR. SANDICK:          And then we would bring it to you if

   19   there wasn't an agreement.

   20                 But instead on June 16th, on a Friday night, we got

   21   a letter saying we accept your offer of one custodian.                      And

   22   then on Juneteenth at about 8 or 9 o'clock at night, we got a

   23   letter proposing to come here on issues that we have never

   24   discussed even once.              In fact, Mr. Dunlap even today

   25   continues to violate the basic rule of meet-and-confer
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    1   conferral by a good-faith meet-and-confer conferral.                      For

    2   instance, he talked about waiver and laches issues.                      That has

    3   never once been raised in a phone call with me relating to

    4   this joint letter.              It's not even in the joint letter.          It's

    5   completely new for Your Honor today.

    6                 The terms and conditions issues that he mentioned,

    7   I'm shocked to hear Mr. Dunlap talk about that when I spoke

    8   to him for an hour on Friday and with an associate, we took

    9   down all of the things he asked us to look at on

   10   meet-and-confer for terms and conditions, and now he's here

   11   saying we haven't complied with our discovery obligations on

   12   meet-and-confer.              We're still in the middle of talking to him

   13   about these things.

   14                 So the idea of coming here and saying, number one,

   15   that we haven't conducted an investigation -- not true.                          He

   16   has misquoted what we said in this letter, and I want to read

   17   in full what we said, to correct the record.

   18                 We said, [As read] As to the specific seven

   19   individuals whom SaveOn SP identifies in this letter, JJHCS's

   20   preliminary investigation has realized each is of minimal or

   21   no relevance to the claims and defenses.

   22                 Why was there a preliminary investigation?                  Because

   23   a couple of these people we had literally never heard

   24   mentioned until we got the joint letter on the night of

   25   Juneteenth, on June 19th.              And so, yes, we didn't fully
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    1   investigate specific names of people that we didn't know he

    2   wants us to look into.              If we engage in meet-and-confer, I

    3   think we can make progress.               We already offered them one

    4   custodian.        We'll possibly offer more if circumstances

    5   justify.       And if not, we'll come back to Your Honor, and

    6   you'll decide what do.

    7                 But the idea that they can say, "Well, for these

    8   six or seven people, we think they're relevant," and based on

    9   that, you now have to go -- we talked about Janssen.                      Janssen

   10   isn't one entity.             Janssen is many different entities.           You

   11   now have to go and consider all sorts of other possibilities.

   12   There's no functional way to do that.                  At the start of the

   13   case when JJHCS became the plaintiff and filed the lawsuit,

   14   that was based itself on an extensive investigation, that the

   15   evidence of wrongdoing and the evidence of harm was at JJHCS

   16   and not at some other entity within the vast business that

   17   is, you know, Johnson & Johnson, writ large.

   18                 I can talk about other issues.               But I think really

   19   what the Court should do is deny the very broad requests that

   20   we go throughout the entire Janssen or Johnson & Johnson

   21   Enterprise and, instead, tell them to give us time --

   22                 THE COURT:          He doesn't want you to go through the

   23   entire enterprise.

   24                 You said there were several Janssen entities, and I

   25   thought that you said, Mr. Dunlap, that you knew which
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    1   entities to go through, which I am not quite sure that you

    2   do.

    3                 MR. SANDICK:          So, Your Honor, let me address that.

    4   A couple of things, they mentioned something called "JALT,"

    5   which is the Janssen Americas Leadership Team.                    JALT is

    6   composed of people who do lots of different things within the

    7   Janssen or Johnson & Johnson companies.                  One of the members

    8   of JALT, one of the 20 members, is someone named Katie Mazuk.

    9   Her role is, among other things, is to supervise CarePath.

   10   So if there are distributions to the JALT team, which is a

   11   20-person team, Katie Mazuk, a custodian in this case, we've

   12   produced documents from her, she would get those documents,

   13   if there are distributions to JALT or by JALT.                    We have a

   14   JALT custodian in this case.

   15                 There are other people in JALT who have absolutely

   16   nothing to do with CarePath.               And other than speculation, we

   17   haven't heard anything.              So they picked Scott White.          Why

   18   have they named Scott White in their letter?

   19                 THE COURT:          So why didn't you talk to each other

   20   about that and then present your various sides to me?

   21                 MR. SANDICK:          I raised this with Mr. Dunlap on

   22   Friday.

   23                 THE COURT:          Okay.

   24                 MR. SANDICK:          And said, "I'm surprised that you're

   25   going to court on this.              We haven't had a chance to meet and
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    1   confer."

    2                 And he said, "Are you willing to do what I said in

    3   the letter?"

    4                 I said, "No.          I thought we'd have a discussion

    5   where we talk about custodians and work this thing through."

    6                 THE COURT:          A discussion means a discussion,

    7   though.

    8                 MR. SANDICK:          Right.

    9                 THE COURT:          Not no and yes.

   10                 MR. SANDICK:          That's right.      And we have not had

   11   that discussion to go through -- again, some of the names in

   12   this letter, we were -- you know, we were criticized, let's

   13   say, for not having Donna -- and someone named Karen Laib

   14   [phonetic].

   15                 The first time that I heard Karen Laib, who she

   16   was, that there was an issue with her, was when I got their

   17   letter on the night of Juneteenth.

   18                 THE COURT:          Okay.   Can I say this without making a

   19   ruling?      I really don't think these issues are fully

   20   explored.       I think you need to meet and confer.                And you can

   21   bring to me each one -- wait, Ms. Snow has something to say.

   22   Go ahead.       You can pass the note.           I want to know what it is.

   23                 I got the sense just from the submission that

   24   exhaustion of conference hasn't been had.

   25                 Am I wrong?
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    1                 MR. DUNLAP:          Well, I think you are.        I'm glad to

    2   address the meet-and-confer --

    3                 THE COURT:          And there can't be any stonewalling.

    4   Meet and confer means, you know, the "C" word, compromise of

    5   some sort.

    6                 MR. DUNLAP:          Yeah, well, I think opposing counsel's

    7   conflating two different things.

    8                 THE COURT:          Okay.

    9                 MR. DUNLAP:          So there are definitely topics where

   10   the parties are still meeting and conferring about whether or

   11   not Johnson & Johnson needs to produce additional documents;

   12   things about time frames; things about additional search

   13   terms; things about additional topics.

   14                 We did meet and confer, as Mr. Sandick said, about

   15   terms and conditions last week.                There are a number of holes

   16   in their production about financial information where we

   17   think they're holding stuff back -- or those topics, we agree

   18   we need to meet and confer on --

   19                 THE COURT:          Okay.

   20                 MR. DUNLAP:          -- specifically and come to you.

   21                 If that's all we were talking about, we would not

   22   have brought this.

   23                 The parties' agreements about a threshold question

   24   about whether they had to do a search of entities outside of

   25   JJHCS in the first instance and answer our interrogatories
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    1   and identify potential document custodians, and they simply

    2   haven't done that, and --

    3                 THE COURT:          Stop.

    4                 What's your answer to that?

    5                 MR. SANDICK:          My answer is that at the start of the

    6   case and throughout discovery, we have done a good-faith,

    7   reasonable search to try to determine --

    8                 THE COURT:          What does that mean, good faith,

    9   reasonable?        I don't know what that means.

   10                 MR. SANDICK:          Sure, it means a few things.          Number

   11   one, it means I've talked to my client and not just me, but

   12   others on the team.              We've spoken to people to try to figure

   13   out who is involved in the operation of CarePath.

   14                 Secondly, we've reviewed many documents and looked

   15   there to see if there were unique responsive documents

   16   outside of the group of custodians that we have identified.

   17   Again, beginning with Katie Mazuk, who is the person who is

   18   really the head of JJHCS for CarePath purposes, her documents

   19   have been produced.

   20                 Seventeen other custodians, close to 20,000

   21   documents.

   22                 And we've gone through these things.                We don't

   23   just, you know, stamp them with a number and send them out.

   24   We reviewed them and studied them and give thought as to

   25   whether we need to do more.
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    1                 I'm always open to hearing that there is some gap.

    2   But we've taken these steps already.

    3                 THE COURT:          Tell him what you want.

    4                 MR. DUNLAP:          Sorry?

    5                 THE COURT:          Tell him what you want.

    6                 MR. DUNLAP:          Well, what we want them to do is the

    7   reasonable investigation they should have done at the

    8   beginning, and we disagree that what they did was reasonable.

    9                 And I think you should listen very carefully to

   10   what Mr. Sandick's saying and what they wrote in their letter

   11   about this, because they say, "Oh, we conducted a reasonable

   12   investigation."          They don't say that they conducted an

   13   investigation outside of JJHCS, that they went and they

   14   looked at other entities, including Janssen, to see if there

   15   was relevant information.

   16                 THE COURT:          Did you look at Janssen?        Stop.    One

   17   thing at a time.

   18                 MR. SANDICK:          We looked at JJHCS documents in order

   19   to determine whether we needed to go and collect and review

   20   documents from Janssen.              Based on our review, we did not

   21   determine that going, let's say, to somebody who's the head

   22   of Janssen North America's files was necessary simply because

   23   he once got an email that had a presentation from SaveOn.                        We

   24   didn't think that was necessary.                We thought that was, you

   25   know, gilding the lily, so to speak.
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    1                 THE COURT:          How do I make this decision without you

    2   two speaking to each other?

    3                 So you think that there are -- there's more

    4   investigation into some of the Janssen entities that's

    5   necessary.

    6                 MR. DUNLAP:          Well, I think you just heard

    7   Mr. Sandick acknowledge that they did not conduct a search

    8   out of --

    9                 THE COURT:          Right.

   10                 MR. DUNLAP:          -- outside JJHCS.       They looked at

   11   those documents, and they stopped.

   12                 And he says, well, we -- but that is because a lot

   13   of have the operations about CarePath are within JJHCS.

   14                 THE COURT:          Right.

   15                 MR. DUNLAP:          But we need documents about decisions

   16   and approvals, and we've shown you materials indicating that

   17   those approvals and those decisions are made at Janssen, not

   18   at JJHCS, and they're big gaps in their production, because

   19   we don't have those approval documents.

   20                 And it's very interesting to hear them, after

   21   spending all this time saying they need our decision-makers'

   22   documents, to basically say, well, hold on a second, we've

   23   decided that just because we sent somebody an email, that's

   24   not enough to go after them.

   25                 Well, if they made decisions, if there were
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    1   approvals, we need to know.               And they're telling you they

    2   haven't done that.

    3                 Now, they also say that -- they say, well, even

    4   operational decisions were made at CarePath, but they don't

    5   say that other signoffs are required for that.                    And we've

    6   shown you documents indicating that approvals, feedback, all

    7   the rest of that is at issue.

    8                 We are glad to meet and confer with them once they

    9   take the first step.

   10                 THE COURT:          Okay.

   11                 MR. DUNLAP:          -- which is -- and to -- and just to

   12   be clear, I don't see how any of this excuses them from

   13   answering our interrogatories, which is to simply --

   14          (Simultaneous conversation)

   15                 MR. DUNLAP:          -- if I could finish.

   16                 Which is simply to identify people with knowledge.

   17   Their interrogatories they say won't give us information from

   18   people outside of JJHCS.              They answer on behalf of JJHCS, and

   19   they identify people of one vendor named TrialCard.                      But they

   20   don't identify anybody outside of JJHCS at Janssen.

   21                 I don't see how this is possible.

   22                 Reasonable investigation has to take place.                  Now,

   23   we can talk about this, but the decision -- we did, in fact,

   24   meet and confer with them about this -- meet and confer with

   25   them about this extensively at the beginning of the year.
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    1                 THE COURT:          Okay.

    2                 MR. DUNLAP:          Which was you should go and look at

    3   outside of JJHCS.

    4                 And they said, "No.              We're not going to do it."

    5                 We moved to compel on this back in February.

    6                 They said, "Well, why don't you wait until our

    7   document production comes in," and then we can renew.

    8                 You said, "Fine."

    9                 Now, on specific topics, terms and conditions,

   10   finances, we're meeting and conferring with them about the

   11   specifics.

   12                 But this is a threshold issue.                They haven't

   13   changed their position.              They've acknowledged to you that

   14   they haven't gone and searched outside of JJHCS.                      They have

   15   to do that if there's a reason to believe that there are

   16   relevant documents there.

   17                 And we've shown you a basis in their own documents

   18   that there were approvals and decisions being made about

   19   CarePath at Janssen.              We don't need them to go search in

   20   every corner of this company.

   21                 THE COURT:          Okay.

   22                 MR. DUNLAP:          But they have to do that reasonable

   23   search, and then we're glad to meet and confer about

   24   custodians and search terms and burden and all the rest of

   25   that.
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    1                 MR. GREENBAUM:          We've done that work, Your Honor.

    2                 THE COURT:          You said you've done it with J&J and

    3   you found nothing relevant or one piece of paper that you

    4   made reference to, relevant to anybody in Janssen.

    5                 MR. SANDICK:          Nothing, no -- no unique responsive

    6   documents that I know of that are outside of the JJHCS

    7   entity.      We have spoken to people at JJHCS.                 We've spoken to

    8   people who also do work for Janssen as well -- in order to

    9   try to determine who the right custodians, who the

   10   decision-makers for this case.

   11                 And what we've come up with is what's led to our

   12   production of documents, the 17 different custodians.

   13                 When we were here in March --

   14                 THE COURT:          Mr. Dunlap wants to know why you didn't

   15   go to Janssen directly, why did you just rely on Johnson &

   16   Johnson and their reference or documents that reference

   17   Janssen?

   18                 MR. GREENBAUM:          Well, here's what I would say.

   19   There are thousands of employees, tens of thousands of

   20   employees, even within the various Janssen entities that

   21   exist, most of whom have absolutely nothing to do with any of

   22   this.

   23                 What he has done is he has --

   24                 THE COURT:          Well, he says that you know there are

   25   several Janssen entities that were involved in some amount of
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    1   decision-making with J&J.

    2                 MR. SANDICK:          I don't think that's right.          He's

    3   identified JALT as the primary focus, the Janssen Americas

    4   Leadership Team.

    5                 One of the people who is in JALT is Katie Mazuk --

    6                 THE COURT:          Right.     You said that.

    7                 MR. SANDICK:          -- also -- right.

    8                 And so that is our window into JALT.

    9                 THE COURT:          What do you want him to do?

   10                 MR. DUNLAP:          We want them to do a full

   11   investigation of documents within the possession, custody, or

   12   control, specifically at Janssen -- maybe there's some other

   13   entity involved as well --

   14          (Simultaneous conversation)

   15                 THE COURT:          And how do you want them --

   16                 MR. DUNLAP:          -- we don't know because they won't

   17   tell us.

   18                 THE COURT:          How do you want them to do that?

   19                 MR. DUNLAP:          Well, they should start by talking

   20   with the folks at -- excuse me -- JJHCS.

   21                 THE COURT:          Janssen?

   22                 MR. DUNLAP:          No, no.     First at JJHCS.

   23                 THE COURT:          They did that.

   24                 MR. DUNLAP:          Where does your budget come from?             Who

   25   do you have to speak with outside of JJHCS to get approvals?
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    1   Who convenes meetings about this?                 What is decisions --

    2                 THE COURT:          Are there interrogatories that are

    3   targeted towards that?

    4                 MR. DUNLAP:          Yes, we've asked them who have

    5   knowledge of these things?

    6                 And they've said, "We're only answering within

    7   JJHCS, not about Janssen."

    8                 THE COURT:          Did you say that?

    9                 MR. SANDICK:          Because the answers lie within JJHCS.

   10   They framed the interrogatories as anyone within all of

   11   Johnson & Johnson.

   12                 And we said we're not doing an investigation

   13   through 140,000 individuals and employees and 200 different

   14   entities.       We're going to give you answers from JJHCS.

   15                 And we told them to meet and confer, that if the

   16   arrows pointed elsewhere, that if there was reason to think

   17   that there is -- you know, unique responsive materials

   18   elsewhere, we're open to that.                 We're not refusing to do

   19   that.

   20                 But we haven't seen the evidence of that.

   21                 And what they've offered in this motion is not the

   22   evidence of it.          Even down to bare facts -- like they have --

   23   they say, "Look at these seven people.                  These are all

   24   non-JJHCS employees."

   25                 And they're wrong.           Most of them do work for JJHCS.
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    1   One of them is such an incredibly senior person within the

    2   company that all they can do is say, "Well, who knows?                         Maybe

    3   he has something.             He once got one email attaching the

    4   presentation and video."

    5                 If he responded to that, he didn't respond to Katie

    6   Mazuk, who is the person who would have been -- the logical

    7   person for him to talk to about it because she's in charge of

    8   making sure that JJHCS functions well.

    9                 So we are open to meeting and conferring.                  But

   10   putting it in a joint letter for the first time --

   11          (Simultaneous conversation)

   12                 THE COURT:          I don't what to do here because --

   13          (Simultaneous conversation)

   14                 THE COURT:          -- you're -- Tim, you've got any ideas?

   15                 MR. DUNLAP:          Can I respond quickly to two points?

   16                 THE COURT:          Yeah, but -- you're crosstalking.              I

   17   don't --

   18                 MR. DUNLAP:          Because there's a fundamental

   19   disagreement about whether they need to do a search outside

   20   of JJHCS.

   21                 And everything you hear him is in this very --

   22                 THE COURT:          I know, but --

   23          (Simultaneous conversation)

   24                 MR. DUNLAP:          -- way to say, no, we're not going to

   25   do that --
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    1          (Simultaneous conversation)

    2                 THE COURT:          But what's being said is that, we have

    3   to start with Johnson & Johnson, and if we find that there's

    4   nothing with Johnson & Johnson that leads to Janssen, why

    5   should we go to Janssen?

    6                 MR. DUNLAP:          Because there's --

    7                 THE COURT:          And the very -- that's not even a

    8   syllogism, but in a very simple way, is that what I'm

    9   understanding you to say?

   10                 MR. SANDICK:          Yeah, that's basically it.         If

   11   JJHCS -- if we see in the documents of the people who

   12   actually oversee and manage and run CarePath, if we see

   13   arrows pointing out that make us think, there should be

   14   unique documents -- in other words, not going to someone

   15   within Janssen because they will have the same emails that

   16   we've already collected from JJHCS but because they're likely

   17   to have done something sort of, so to speak, behind JJHCS's

   18   back.

   19                 And we actually did give them one of the custodians

   20   they asked for on May 9th.               We thought we would have further

   21   discussions along these lines.

   22                 THE COURT:          I'm willing to give you what you want,

   23   but I'm not sure what it is.

   24                 You want them to search certain Janssen entities.

   25   Which ones?
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    1                 MR. DUNLAP:          Well, this is the problem, Your Honor.

    2   We don't know all of the Janssen entities --

    3                 THE COURT:          And I certainly don't know.

    4                 MR. DUNLAP:          The JALT is certainly involved, that

    5   we've shown you those documents.

    6                 THE COURT:          Well, he said one person in JALT has

    7   involvement.

    8                 MR. DUNLAP:          He said that one person has

    9   involvement.         But the very person he was talking about, Scott

   10   White --

   11                 THE COURT:          Right.

   12                 MR. DUNLAP:          -- he says, oh, all he did was get a

   13   copy of something.

   14                 No, he convened a meeting in December of 2021 about

   15   co-pay adjustment programs.                He convened that meeting weeks

   16   before they changed their terms and conditions and their

   17   budget for two of the drugs at issue.

   18                 They haven't done an investigation, by all

   19   accounts, to show who the actual decision-makers and approval

   20   folks were.        And we think this shouldn't be that complicated.

   21   If you work at JJHCS, you have to know where your budget

   22   comes from and who's setting the CarePath budget.                     You have

   23   to know whose approvals you need to seek, who -- which

   24   higher-ups have called you and asked you to participate in

   25   meetings.       We don't see why this is so hard --
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    1          (Simultaneous conversation)

    2                 THE COURT:          Can you answer these questions?

    3                 MR. SANDICK:          We --

    4          (Simultaneous conversation)

    5                 MR. DUNLAP:          -- and --

    6                 MR. SANDICK:          Sorry.     Do you want it answered?          Or

    7   should I wait for --

    8                 THE COURT:          Well, I know what you want.         I don't --

    9   you're not responding to what he wants other than to say we

   10   have gone to -- hold on.              I might have some wisdom coming

   11   back.

   12          (Pause in proceedings)

   13                 MR. DUNLAP:          The one other point I was going to --

   14                 THE COURT:          It's okay.

   15                 MR. DUNLAP:          The one other point I was going to

   16   make, just to get it on the table, their cries of burden,

   17   we're not --

   18                 THE COURT:          I don't want to hear burden.         I am not

   19   listening to burden today.               It's not -- it's -- you can't

   20   talk to me, either side, about burden.

   21                 And I don't want to hear 20,000 or 30,000 pages.

   22                 I want a path so that they can be satisfied that

   23   you've contacted Janssen entities -- I don't know the

   24   logistics.        I don't even know, really, what it is that they

   25   need, but -- who makes budgetary decisions, who has input in
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    1   decision-making, basic information that you say you gave them

    2   from J&J and that Janssen has no involvement in.

    3                 MR. SANDICK:          That -- I think that the documents

    4   that we have collected are the -- are the responsive

    5   documents in this case, that if we go to other entities, we

    6   are not going to find unique documents.                  We're going to find

    7   things that have already been produced.

    8                 THE COURT:          But you want them to go to Janssen -- I

    9   mean, to Janssen.

   10                 MR. DUNLAP:          He's saying they haven't done the

   11   investigation.

   12                 MR. SANDICK:          No, that's not at all what I'm

   13   saying --

   14          (Simultaneous conversation)

   15                 MR. DUNLAP:          They have -- if I could --

   16                 MR. SANDICK:          But you keep misstating what I'm

   17   saying, Mr. Dunlap.

   18                 I've said six times we did the investigation.                      You

   19   don't like the answer from the investigation, and so you

   20   filed a joint letter without any meet-and-confer --

   21                 THE COURT:          Well, he doesn't think you went far

   22   enough.

   23                 MR. DUNLAP:          Your Honor, I'm glad to address him

   24   directly, but I think you'll probably want me to direct my

   25   comments to you.
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    1                 THE COURT:          Okay.

    2                 MR. DUNLAP:          Right.

    3                 THE COURT:          That's my bad.     Go ahead.

    4                 MR. DUNLAP:          He has acknowledged that they haven't

    5   done a search outside of JJHCS.

    6                 What he said -- and this is consistent with the

    7   letter, is they talked to people within JJHCS --

    8                 THE COURT:          Right.

    9                 MR. DUNLAP:          -- and based on that, they don't think

   10   they have go outside of JJHCS, and that's reasonable.

   11                 THE COURT:          Yes.

   12                 MR. DUNLAP:          And our answer -- our response is

   13   that's not reasonable.              If you know that Janssen and JJHCS

   14   are wound up this way, you know that people are

   15   crossdesignated.              You know that they work together.          You know

   16   JJHCS runs CarePath for Janssen.                You have indications in

   17   your very documents that Janssen people are approving things

   18   relating to CarePath.              You have to then go to Janssen -- I

   19   don't know how many people it is or how they instruct their

   20   organization, but you have to do a reasonable investigation

   21   and figure out who are the people who actually have

   22   approvals, inputs, substantive knowledge of this.

   23                 And how he can say there are no unique documents

   24   when they haven't done the search is a little bit beyond me,

   25   especially when a search only of JJHCS would not capture any
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    1   internal documents at Janssen by these decision-makers about

    2   the decisions that they are making.

    3                 We think this is a square one fundamental issue.

    4   Do the investigation that you should have done months ago.

    5   Answer our interrogatories.                We don't see why that is a

    6   burden.      Identify people who have relevant documents.

    7                 And then if you want to talk about duplication or

    8   cumulativeness or the burdens or the rest of it, we can then

    9   negotiate.        But until they move off of square one, they're

   10   asking us to identify gaps in a production they haven't made

   11   and a search they haven't done.

   12                 MR. SANDICK:          Your Honor --

   13                 THE COURT:          What if he issues a third -- this is

   14   Duva wisdom.         What if he issues a third-party subpoena to

   15   Janssen?

   16                 MR. SANDICK:          I would have to see it.         I understand

   17   what Mr. Duva is suggesting.

   18                 THE COURT:          Well, wouldn't it be better that you do

   19   this collaboratively rather than starting to get into that?

   20   I didn't mean to suggest that that's what you should do to

   21   get the information.              But --

   22          (Simultaneous conversation)

   23                 MR. SANDICK:          The point that I'm making,

   24   Your Honor, is that -- is that what Mr. Dunlap is using, you

   25   know, fairly neutral terms.                Like, just go look at Janssen --
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    1                 THE COURT:          Right.

    2                 MR. SANDICK:          -- there are so many people who work

    3   at Janssen, thousands of people --

    4                 THE COURT:          But he wants crossovers.        So -- and

    5   he's named this White person --

    6                 MR. DUNLAP:          Scott White is one of Janssen's --

    7          (Simultaneous conversation)

    8                 THE COURT:          -- as a crossover --

    9          (Simultaneous conversation)

   10                 MR. SANDICK:          He's an apex -- he's an apex witness,

   11   Your Honor.        He is the only connection --

   12                 THE COURT:          Oh, was that the answer to the

   13   interrogatory?          That is an apex?

   14                 MR. SANDICK:          No.    The answer -- that is the

   15   answer --

   16                 THE COURT:          Because then I get to determine whether

   17   he's an apex.

   18                 MR. SANDICK:          That's an answer to the question of

   19   is this someone who's likely to have unique documents?

   20                 He is the head of this 20-person group that

   21   oversees a million different things.                 One of the very small

   22   things that that group oversees happens to be CarePath.

   23                 The person on JALT who actually oversees CarePath

   24   is, of course, a custodian.                I'm sure they'll depose her.

   25   And they can ask her the questions that Mr. Dunlap is talking
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    1   about.

    2                 THE COURT:          Well, you see, here's the other side of

    3   this, and this probably won't help you to do what you have to

    4   do.    But, you know, I ordered them to give, with a wide

    5   berth, relevant documents.               And I'd like you to do the same.

    6                 MR. SANDICK:          I think we have, Your Honor.

    7                 THE COURT:          I know that you think you have.

    8                 But Mr. Dunlap doesn't think that you have, and his

    9   issue is not that large.              It's why can't you go to Janssen

   10   and find out about these crossover people or related

   11   J&J/Janssen decision-makers.

   12                 So you are telling me nobody in Janssen has

   13   anything that that would be applicable to a CarePath

   14   decision?

   15                 MR. SANDICK:          What I'm saying is that we have done

   16   that work, and we have identified the people who make those

   17   decisions are the custodians in this case; that it is not

   18   someone --

   19                 THE COURT:          But there's only one you've agreed to.

   20                 MR. SANDICK:          Well, there's only one we've agreed

   21   to.    The others were sort of thrown at us in the joint letter

   22   process.

   23                 So I would also just say that to -- to come out of

   24   this and order us to do something where there's been no

   25   meet-and-confer, I think also incentivizes future disputes to
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    1   be resolved along these lines --

    2          (Simultaneous conversation)

    3                 THE COURT:          I don't know if we're the tail or the

    4   dog, because then we're back to the custodian issue.

    5                 But I think that his issue is preliminary.

    6                 MR. DUNLAP:          Yes, and if I could speak to that,

    7   Your Honor, we're really not trying to sandbag them or slip

    8   anything by.         We've spent a lot of time meeting and

    9   conferring about lots of things.                And we are still meeting

   10   and conferring about things like terms and conditions --

   11          (Simultaneous conversation)

   12                 THE COURT:          Right.   But you want the --

   13          (Simultaneous conversation)

   14                 MR. DUNLAP:          We understood there so be --

   15          (Simultaneous conversation)

   16                 THE COURT:          -- further investigation into Janssen

   17   to see whether or not --

   18                 MR. DUNLAP:          Yes, we want them to do a reasonable

   19   investigation into Janssen.                If there's some other entities

   20   involved --

   21                 THE COURT:          But that's a general --

   22          (Simultaneous conversation)

   23                 MR. DUNLAP:          -- they can do that.         But Janssen is

   24   key --

   25          (Simultaneous conversation)
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    1                 MR. DUNLAP:          Right.      It's a general they should

    2   point -- right? -- which is this is what they're supposed to

    3   do at the beginning.              We don't think they did what they were

    4   supposed to do.

    5                 They need to answer --

    6          (Simultaneous conversation)

    7                 THE COURT:          This is so circular --

    8          (Simultaneous conversation)

    9                 MR. DUNLAP:          -- they need to answer their

   10   interrogatories and identify people with knowledge at

   11   Janssen, which is something they're refusing to do.                        They

   12   need to identify people at Janssen who may have relevant

   13   documents, even if they think they're cumulative.                       Identify

   14   those people, which they've refused to do.                       And then we can

   15   meet and confer about specific individuals.

   16                 But we can't do the meeting and conferring before

   17   we do the reasonable investigation.

   18                 And it's a little bit head-snapping, because on the

   19   one hand, they're telling you nobody outside of JJHCS, we

   20   think, has nothing to do with CarePath, and so many people

   21   outside of JJHCS might have something to do with CarePath, it

   22   would take us a huge amount of time to figure out who they

   23   are.

   24                 Well, both of those things can't --

   25                 THE COURT:          How does he do an investigation?            He
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    1   goes to Janssen or sends out an email saying, "If you have

    2   any relationship with CarePath, contact me"?

    3                 MR. DUNLAP:          I mean, I think it would be two

    4   things.      You would interview folks within JJHCS about people

    5   at Janssen, maybe other entities --

    6                 THE COURT:          He said he did that.

    7                 MR. DUNLAP:          Well -- but --

    8          (Simultaneous conversation)

    9                 MR. SANDICK:          We did that --

   10          (Simultaneous conversation)

   11                 MR. SANDICK:          We did that.

   12                 MR. DUNLAP:          Well, but they did -- but then it's

   13   very hard for them to explain, I think, the documents we just

   14   showed which show people -- which show that the Scott White,

   15   the chairman or the -- one of the head folks on the JALT

   16   convening a meeting about co-pay assistance.                    And --

   17                 THE COURT:          What about that specifically?

   18          (Simultaneous conversation)

   19                 MR. SANDICK:          Sure, a meeting on co-pay assistance

   20   at which a custodian in this case was a -- would have been

   21   the key person because she's the person in charge of

   22   CarePath.

   23                 THE COURT:          Now, we're back to Scott White's being

   24   an apex.

   25                 MR. SANDICK:          Scott -- this is -- you know, because
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    1   there's a meeting invitation that emanates from the email,

    2   who knows it's even him or his secretary who sends it out --

    3                 THE COURT:          Well, they're asking you to find out.

    4   That's the very point.

    5                 MR. SANDICK:          But the point is --

    6          (Simultaneous conversation)

    7                 MR. DUNLAP:          It says other things -- I'm sorry --

    8          (Simultaneous conversation)

    9                 MR. SANDICK:          -- the fact that there's a meeting

   10   that Scott White calls, if there are documents relating to

   11   that meeting that go through a JALT distribution list, they

   12   would be in the documents that we've reviewed and produced

   13   where responsive because someone on JALT is a custodian in

   14   this case.

   15                 It can't be the case, Your Honor, that 20 members

   16   of JALT all have to become custodians because there was once

   17   a meeting held that touched on --

   18          (Simultaneous conversation)

   19                 THE COURT:          But he's not saying that.

   20                 MR. DUNLAP:          Exactly.

   21                 MR. SANDICK:          I think he is saying that.

   22                 MR. DUNLAP:          What we're saying --

   23          (Simultaneous conversation)

   24                 MR. SANDICK:          His letter says exactly that --

   25          (Simultaneous conversation)
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    1                 THE COURT:          He's saying he doesn't believe that you

    2   did your due diligence with respect to any Janssen people --

    3                 MR. SANDICK:          He should come forward with specific

    4   document issues, just as we have.

    5                 THE COURT:          He did.      He did.    He said,

    6   decision-making, budget, who decides the budget.

    7                 MR. DUNLAP:          Where does the budget come from?               Who

    8   signs off on changes to the program?                     Who signs off on

    9   changes to the terms and conditions.                     Where's the feedback

   10   come from?        And --

   11                 MR. SANDICK:          Those issues were first raised in the

   12   joint letter with us a week ago.

   13                 MR. DUNLAP:          But --

   14                 MR. SANDICK:          -- you haven't come here today

   15   prepared to answer those.

   16                 And some of these issues like laches and others

   17   things, they were never mentioned even in the letter --

   18          (Simultaneous conversation)

   19                 THE COURT:          I -- don't you just love to hear

   20   laches, though?

   21                 MR. SANDICK:          It's a wonderful common law doctrine.

   22   It has no application here.

   23                 But it was never mentioned in the letter --

   24          (Simultaneous conversation)

   25                 THE COURT:          Well, he said you waited five years,
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    1   so --

    2                 MR. SANDICK:          It was never mentioned in their

    3   letter.      It was never mentioned in meet-and-confers.

    4                 We can't have a system where we just come in and

    5   spring things on the Court and opposing counsel for the first

    6   time --

    7                 THE COURT:          No, better you should spring them on a

    8   Friday night.

    9                 MR. DUNLAP:          Yeah, Your Honor, we were --

   10          (Simultaneous conversation)

   11                 MR. DUNLAP:          We were not trying to spring anything

   12   on them.       We understand -- again, on specific issues like

   13   more on terms and conditions and more on finances.                     We're

   14   meeting and conferring.

   15                 It is on this threshold issue that we understood

   16   that there was a dispute, and I haven't heard anything from

   17   Mr. Sandick indicating that there's not --

   18          (Simultaneous conversation)

   19                 THE COURT:          I want to know specifically what you

   20   want him to do -- one, two, three.

   21                 MR. DUNLAP:          I want him to conduct a reasonable

   22   investigation.

   23                 THE COURT:          What do you mean by that?

   24                 MR. DUNLAP:          I -- well, he has to talk to the folks

   25   at JJHCS about who they seek approvals for, coordinate, work
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    1   with, the key topics in the case.

    2                 And I want him to talk to people at Janssen,

    3   however that's organized, about anything they do regarding

    4   CarePath or SaveOn.

    5                 And from there, I want him to answer the

    6   interrogatories without the restriction of JJHCS.                     And I want

    7   him to identify custodians who may have relevant materials

    8   outside of JJHCS.

    9                 Then we can negotiate about with which of those

   10   additional individuals become custodians --

   11          (Simultaneous conversation)

   12                 THE COURT:          I'm going to order you to do exactly

   13   what he's outlining.

   14                 I don't know how you do it.              I don't know the

   15   mechanics.        I am not internally involved here.

   16                 But if it satisfies them for you to do further

   17   investigation and find out --

   18          (Simultaneous conversation)

   19                 MR. SANDICK:          In a sense, Your Honor, maybe this

   20   is -- part of this won't be hard because we've already done

   21   it.

   22                 He doesn't like the answer.              The traditional way

   23   that these things are maintained is not by one lawyer coming

   24   in and saying, you know, answer the interrogatory differently

   25   from how you answered it.
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    1                 THE COURT:          But he says you restricted your answers

    2   to J&J.

    3                 MR. SANDICK:          Based on the fact that JJHCS is the

    4   entity that has knowledge on this issue and that we were not

    5   inclined to go all throughout the company looking for

    6   individuals.

    7                 If we had thought at the outset of this case, based

    8   on our extensive internal review prior to filing a complaint

    9   and interviews of employees and collection and review of

   10   documents that they -- the arrows pointed outside of JJHCS,

   11   we would be, of course, open to doing that, and we're not

   12   saying that they have to serve a subpoena --

   13          (Simultaneous conversation)

   14                 THE COURT:          But clearly Janssen's involved.

   15                 MR. SANDICK:          Well, the name of the program at some

   16   point has been Janssen CarePath.

   17                 THE COURT:          Yeah.

   18                 MR. SANDICK:          And Johnson & Johnson, the overall

   19   entity, not just --

   20                 THE COURT:          They make all the decisions for Janssen

   21   CarePath?

   22                 MR. SANDICK:          JJHCS runs Janssen CarePath.          I can't

   23   say --

   24          (Simultaneous conversation)

   25                 THE COURT:          But that's why they're the
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    1   administrator; right?

    2                 MR. SANDICK:          No, the administrator is TrialCard,

    3   this third party that is also -- that we have identified and

    4   we've made document production from -- and probably we'll be

    5   making more if meet-and-confer -- which is still ongoing as

    6   to TrialCard Points in that direction.

    7                 The -- but the traditional way --

    8                 THE COURT:          How do I get past this?

    9                 MR. SANDICK:          Your Honor, this is a traditional --

   10                 THE COURT:          Volunteer something to get past this?

   11                 MR. SANDICK:          Yeah, my colleague Jeff says, let's

   12   go back and meet and confer on these issues and go through

   13   the documents and go through custodians.                   The issues that

   14   should have been done prior to the filing of this letter,

   15   we're, of course, to doing, you know -- not -- not right here

   16   in court --

   17          (Simultaneous conversation)

   18                 THE COURT:          But, you know, again, we're circular on

   19   this, because they're saying that you never did an initial

   20   preliminary full reasonable investigation.

   21                 MR. SANDICK:          I don't agree with that, Your Honor.

   22                 THE COURT:          You say you didn't.

   23                 So what am I supposed to do?              Have an evidentiary

   24   hearing?

   25                 MR. SANDICK:          Well, Your Honor, the way these
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    1   things are often addressed is that -- two ways:                     meet and

    2   confer by going specific documents, as Jeff just mentioned

    3   and as I proposed today.

    4                 And, secondly, they're going to take depositions of

    5   these people, and they're going to be sworn depositions.

    6                 THE COURT:          Yeah, but I don't want to do that

    7   because I didn't -- I didn't do that the other way.                      I could

    8   have easily --

    9                 MR. SANDICK:          Well --

   10                 THE COURT:          -- do this at depositions with respect

   11   to some of the things that I ordered them to turn over.

   12                 MR. SANDICK:          But, Your Honor, the other way --

   13                 THE COURT:          I am not going to stumble on that,

   14   because you've got to be prepared for a deposition.

   15                 MR. SANDICK:          But, Your Honor, the other way is

   16   very different.          My colleague here is asking for one

   17   document, the operating agreement.                 My other colleague here

   18   was asking for 10 documents.               Specific documents.        Look, we

   19   know they have business plans.                 Give us the business plans.

   20                 THE COURT:          Okay.

   21                 MR. SANDICK:          If this were a specific request

   22   saying give us the documents that relate to this category or

   23   that category, again, we have a meet-and-confer.                     Maybe they

   24   get some of them.             And if they didn't, they come here and ask

   25   for them.
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    1                 But it this amorphous obligation -- you know, a

    2   court's going to order me to do something I think I've

    3   already done?

    4                 THE COURT:          Well, I don't even know what to order

    5   you --

    6          (Simultaneous conversation)

    7                 MR. SANDICK:          -- and then I'll come back and he'll

    8   be unhappy --

    9          (Simultaneous conversation)

   10                 THE COURT:          So that's --

   11                 MR. SANDICK:          Okay --

   12          (Simultaneous conversation)

   13                 THE COURT:          -- where I'm stuck.

   14                 MR. SANDICK:          Okay.

   15                 MR. DUNLAP:          Your Honor, if I could just -- I'm

   16   sorry.      May I respond to that?

   17                 Again, we're asking for something that we think is

   18   very basic.        He keeps trying to pull it back to let's meet

   19   and confer about specific custodians.

   20                 THE COURT:          Yes.

   21                 MR. DUNLAP:          But that -- you can't do that until

   22   you've done the reasonable investigation in the first place.

   23                 If you order us to go back and simply say, well,

   24   identify custodians based on their production, then they've

   25   gotten away with not answering our interrogatories or
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    1   identifying people with documents in the first instance

    2   outside of JJHCS.

    3                 THE COURT:          He's saying there are no people if --

    4                 MR. DUNLAP:          Well -- but -- that -- we think that

    5   the documents contradict that.                 I mean, one other way we

    6   could go here, Your Honor, is you could agree that we can

    7   take a 30(b)(6) deposition, not to count against our normal

    8   30(b)(6) --

    9                 THE COURT:          Okay.

   10                 MR. DUNLAP:          -- up front to identify individuals

   11   and locations of documents relating to the topics in this

   12   case.     And it would have to be, obviously, for people outside

   13   of JJHCS.       And if they're going to say -- if they're going to

   14   have someone come in there and swear, yeah, no one at Janssen

   15   has anything to do with setting the CarePath budget, no one

   16   at Janssen has ever had to give approval or sign off any --

   17   occasion about CarePath, that would be one thing.

   18                 But if they say, oh, yeah, no, there actually are

   19   some people at Janssen or the JALT or these other individuals

   20   who were involved, that would be something else.

   21                 THE COURT:          So the 30(b)(6) be from J&J.

   22                 MR. DUNLAP:          From JJHCS.

   23                 But, again, they're not disputing their possession,

   24   custody, and control goes outside of the four corners of

   25   JJHCS.
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    1                 THE COURT:          Right.

    2                 MR. DUNLAP:          I mean, that's not our preferred

    3   route.      Our preferred route is they actually do the

    4   investigation, answer the interrogatories, identify potential

    5   custodians, and then we would --

    6                 THE COURT:          But their position is clear.         They

    7   think they've done that.

    8                 MR. DUNLAP:          They have to acknowledge to you that

    9   they have not gone outside of JJHCS.

   10                 THE COURT:          They did --

   11                 MR. DUNLAP:          They've acknowledged that to you.

   12                 MR. SANDICK:          Well, Your Honor, just to -- I don't

   13   mean to double back to something we were discussing before,

   14   but with regard to this December -- I think you said

   15   December 2021 meeting of the Janssen Americas Leadership

   16   Team, JALT, we are prepared, based on the colloquy today and

   17   trying to think of some way to address Your Honor's concern,

   18   to go back, including to people who, you know, if -- are

   19   outside of JJHCS, if that's where we think the arrows lead,

   20   and to try to figure out are there more documents about that

   21   meeting.

   22                 THE COURT:          Just go to Janssen.       That's all I want

   23   you to do.

   24                 MR. SANDICK:          Well, yes, and I don't mean to be

   25   harass, but even within Janssen, there are many different
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    1   entities.

    2                 Janssen is a, among other things, it's a brand

    3   name; right?         There are Janssen therapies.               The drugs that

    4   are at issue in this case, if you want to go to your doctor

    5   and you say, I want the Janssen drug daratumumab because I

    6   have multiple myeloma or something like that -- or probably

    7   your director tells you you need it --

    8          (Simultaneous conversation)

    9                 THE COURT:          Are there Janssen entities or areas

   10   of -- or groups that you have specific knowledge of that you

   11   want them to investigate?

   12                 MR. DUNLAP:          Well, we've identified from their

   13   limited production with individuals who have crossover

   14   responsibilities and specific groups within Janssen --

   15                 THE COURT:          We dealt with Mr. White already.

   16                 MR. DUNLAP:          We did -- but I --

   17                 THE COURT:          And we dealt with Ms. JALT already.

   18                 MR. DUNLAP:          This is part of -- the JALT is the

   19   actual entity, the Janssen Americas Leadership Team.

   20                 THE COURT:          Right.

   21                 MR. DUNLAP:          But I think this is all proving our

   22   point.      Johnson & Johnson lawyers aren't able to tell you in

   23   this hearing how Janssen works.                How are we supposed to be

   24   able to do that?              The burden's on them to do that

   25   investigation.          Who at Janssen -- sorry.           Who at Janssen is
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    1   involved in this?             I mean, look, this is -- I understand it

    2   may be a little work for them.                 But this is what representing

    3   a big company is about.

    4                 And, again, I know you don't want to hear burden,

    5   but I just want to point out -- right? -- we've produced

    6   120,000 documents, and we're still going, and we're going to

    7   make another substantial production next month and probably

    8   after that.

    9                 They've produced 16,000 documents, and they say

   10   they're done.         We just don't think that that's an indication

   11   that they have done a full production here on these topics.

   12                 And the fact that they're excludeing, categorically

   13   people outside of Janssen, we think, speaks to that.

   14                 MR. SANDICK:          Your Honor, there's almost never a

   15   parallel between the documents produced by the plaintiff and

   16   produced by the defendant.

   17                 THE COURT:          I don't -- that doesn't matter.

   18                 MR. SANDICK:          Okay.

   19                 THE COURT:          That doesn't matter.          It doesn't.

   20                 What matters to me is this is what I would call a

   21   simple request, and that is to go to Janssen to figure out

   22   any way you can, any crossover decision-makers and disclose

   23   them, whether they be custodians -- either that, or he gets a

   24   30(b)(6) early on, which I don't how appropriate that is --

   25   forget appropriate.              I don't know how advantageous that is
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    1   this early on in the case, honestly.

    2                 But if you could go back to Janssen -- I don't know

    3   how to structure this.              I'm making you do an investigation

    4   and find out if there are crossover or integrated -- I don't

    5   know if that's the right word -- people --

    6                 MR. SANDICK:          We'll do that, Your Honor.          And I

    7   think our specific focus, if it meets Your Honor's approval,

    8   will be things that have been specifically identified.                        This

    9   meeting of the JALT group in December --

   10                 THE COURT:          No, he wants you to do a full

   11   investigation.

   12                 MR. SANDICK:          I understand that.          But I think

   13   you -- as you've heard, we think we already have done what we

   14   were required to do here.              We're now going back to do more

   15   because we want to be mindful of Your Honor's --

   16                 THE COURT:          No, because I'm ordering you to do that

   17   and I'm the judge.

   18                 MR. SANDICK:          Yes, that's --

   19                 THE COURT:          So I can do that.

   20                 But I can't give you parameters because I don't

   21   know what they are other than Mr. Dunlap is sure -- and I am

   22   not unsure, sure, either way, that there are crossover -- or

   23   there are people in Janssen that make decisions for CarePath

   24   and/or Johnson & Johnson who help.                 And other than Mr. White

   25   and Ms. -- what's her name from JALT?
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    1                 MR. SANDICK:          Karen Laib was the other person who

    2   are -- we only heard about Ms. --

    3                 MR. DUNLAP:          And that's part of the point.

    4   Mr. Sandick is a great advocate.                He's trying to pull you

    5   back to these individual -- like, let's talk about --

    6                 THE COURT:          No, he's not pulling me back.

    7                 MR. DUNLAP:          I thought he was trying.

    8                 THE COURT:          I just want them to do whatever they're

    9   supposed to do with respect to Janssen and its involvement in

   10   CarePath and --

   11                 MR. DUNLAP:          Correct.    And it's do the

   12   investigation --

   13                 THE COURT:          Yeah.

   14                 MR. DUNLAP:          -- of Janssen.      And, again, if there's

   15   some non-Janssen entity that we're not aware of who's

   16   involved in this too, they should look at that.

   17                 But we think, really, most roads here lead to

   18   Janssen.       Do the investigation.           Answer the interrogatories,

   19   which they explicitly say they're not answering to anyone

   20   other than JJHCS.             And identify people outside of JJHCS at

   21   Janssen who they think have relevant documents.

   22                 They can make their arguments later about

   23   cumulativeness and duplicativeness and everything else.

   24                 THE COURT:          Answer the interrogatories.         I mean, I

   25   know you've said to me you did the investigation, you
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    1   answered the interrogatories.                  If you're going to say you are

    2   not going out of Johnson Health Systems, you can't say that.

    3   That's not a good answer.              That's -- the answer is we've

    4   investigated, we've spoken to people in Janssen.                      I'm really

    5   at a loss at --

    6                 MR. SANDICK:          We will do that, Your Honor.

    7                 THE COURT:          -- how to do this.

    8                 MR. SANDICK:          We will do that, Your Honor.

    9                 MR. DUNLAP:          Well, I think what you've said is a

   10   good step of the way.              Do the investigation.         Answer the

   11   interrogatories.

   12                 We think, along with answering interrogatories,

   13   they should say who they think document custodians would be.

   14   At this point we're not asking them to commit to add anybody

   15   as custodians.          Just tell who has relevant docs.

   16                 THE COURT:          Well, you're going to discuss

   17   custodians.

   18                 MR. DUNLAP:          That's exactly right.         But they should

   19   go first -- right?             Generally what happens is a party says --

   20                 THE COURT:          Right.

   21                 MR. DUNLAP:          -- you have doc requests.          I've

   22   searched within my possession, custody, or control.                       Here are

   23   my proposed custodians.

   24                 And, of course, there's always discussion later on

   25   about changing that list.
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     1                 What we're saying is because they exclude Janssen,

     2   answer the rogs, tell us who has knowledge, then identify

     3   folks at Janssen who are potential custodians, and then let's

     4   talk.     Let's talk about burden and search terms and time

     5   frames and all the rest of it.                 We're glad to do that.

     6                 MR. SANDICK:          Your Honor, we'll supplement the --

     7                 THE COURT:          Perception is everything.

     8                 MR. SANDICK:          Yes, I -- that's often true.

     9                 We'll supplement the interrogatory, as Your Honor

    10   has instructed.          We will -- we will confirm our prior

    11   understanding or change it if we are not to be -- not to have

    12   the correct the first time.

    13                 But -- but I don't know what more we can say as the

    14   specifics.        We have to be in specifics.             And that's, of

    15   course, the concern that we've raised today and in our

    16   letter, that, you know, when we have a document issue, it's

    17   we need these 10 things.               We need this one thing.

    18                 When they have a document issue, it's here our

    19   seven custodians, and we're not even asking for them.                       We

    20   don't know exactly how many we're asking for.                     It could be a

    21   lot.     It could be many.            Look through the whole company.

    22   We'll call it Janssen, even though it's actually five or six

    23   different entities --

    24                 THE COURT:          Well, then we get to proportionality

    25   issues.      I mean, if we're going to getting --
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     1          (Simultaneous conversation)

     2                 MR. SANDICK:          Yes, and then we'll have to come

     3   back.

     4                 THE COURT:          In the beginning of the case,

     5   especially a case of this size, you know, it's sort of like a

     6   funnel, you would hope.               And you start out wide, and then you

     7   determine proportionality as you investigate and turn over

     8   documents and read documents.                  I would hope that that's the

     9   way the case goes.

    10                 But we're at the stumbling block at the top of the

    11   funnel.      So --

    12                 MR. DUNLAP:          Well, can I speak to proportionality

    13   for just a second -- because --

    14                 THE COURT:          We're not really there yet.

    15                 MR. DUNLAP:          No.   But I think it bears noting at

    16   this point, because he just said, oh, when they ask for

    17   documents, like 10 documents here, two documents there, bunk.

    18   We have had -- three hundred thousand documents based on

    19   various based on various requests that we've searched.

    20                 THE COURT:          No, and they've only turned over 60.

    21                 MR. DUNLAP:          And we've --

    22                 MR. SANDICK:          Well --

    23                 MR. DUNLAP:          We've gone through all of those.            And

    24   they're pushing us back on actually doing an investigation

    25   and answering interrogatories.
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     1                 THE COURT:          Okay.

     2                 MR. DUNLAP:          We've done what we're supposed to

     3   do --

     4          (Simultaneous conversation)

     5                 THE COURT:          I really think this is a matter of

     6   perception.        I think that you all will do what I say.

     7                 MR. SANDICK:          I think -- I think we understand what

     8   Your Honor wants to do, and, of course, we'll do it.                        And

     9   then we'll be in touch with Mr. Dunlap, and --

    10                 THE COURT:          And I'm sorry I'm stumbling, but I just

    11   don't know -- it's so hard to do this job when you don't have

    12   discovery and you don't have the inside information and I'm

    13   trying to get in each of your heads as to what your

    14   allegations are and your defenses, including laches.                        I mean,

    15   tell me that you didn't your whole life after you graduated

    16   law school want to hear laches?

    17                 MR. DUNLAP:          I didn't think I'd see conduct this

    18   extreme, that they've given us --

    19                 THE COURT:          This is the second laches defense that

    20   I've had in about two weeks in my whole life.                      So ...

    21                 MR. SANDICK:          Making a comeback.          It's hot.    Laches

    22   is hot.      We had laches trial last year in the Southern

    23   District in our case.              It wasn't us, but our firm did.

    24                 THE COURT:          How did it go?

    25                 MR. SANDICK:          And the laches defense was rejected
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     1   there.      It was a case brought by Howard University about a

     2   painting that had been stolen many, many years ago, and the

     3   current possessor said, you didn't do enough to try to track

     4   down the possessors.

     5                 And Judge Liman ruled in Howard's favor.

     6                 So laches --

     7                 THE COURT:          Oh, isn't that interesting?

     8                 MR. SANDICK:          You can have a laches trial.

     9                 THE COURT:          So sort of the -- Phil, you can turn

    10   the record off.

    11                 MR. DUNLAP:          Well, Your Honor, recording -- we

    12   do -- there are two other items.

    13                 THE COURT:          Oh.

    14                 MR. DUNLAP:          One is on, maybe --

    15                 THE COURT:          Preview, maybe because I do have

    16   criminal duty.

    17                 MR. DUNLAP:          There's one about a motion to seal,

    18   which is for some reason contested, which Evans is going to

    19   address.

    20                 And then we should probably just talk about when

    21   are you going to set the next conference and the relationship

    22   to the substantial completion deadline?

    23                 THE COURT:          Well, that, we can do off the record.

    24                 But they're giving you -- before we go on [sic] the

    25   record -- what's the problem with the motion to seal?
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     1                 MR. GREENBAUM:           It's not returnable yet.         They

     2   wanted to seal argument in one of their letters.                     And we

     3   objected to that.              We believe it should be part of the

     4   record.      They wanted to take certain words out.

     5                 In the last argument, if you remember, Your Honor,

     6   they argued that -- oh, if we comply with this --

     7          (Simultaneous conversation)

     8                            (Conclusion of proceedings)

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         |Certification


     1                                        Certification

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    11          I further certify that I am in no way related to any of

    12   the parties hereto nor am I in any way interested in the

    13   outcome hereof.

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    18    S/   Sara L. Kern                                    10th of July, 2023

    19    Signature of Approved Transcriber                                Date

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